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           EXHIBIT A
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J. Alex Halderman                                                                     2260 Hayward Street
                                                                                    Ann Arbor, mi 48109 usa
Professor, Computer Science and Engineering                                        (office ) +1 734 647 1806
University of Michigan                                                           jhalderm@eecs.umich.edu

August 7, 2018                                                                J. Alex Halderman.com


Research Overview
   My research focuses on computer security and privacy, with an emphasis on problems that
   broadly impact society and public policy. Topics that interest me include software security,
   network security, data privacy, anonymity, surveillance, electronic voting, censorship resistance,
   computer forensics, ethics, and cybercrime. I’m also interested in the interaction of technology
   with politics and international affairs.
   Selected Projects
   ’17: Weaknesses in TLS interception middleboxes     ’10:   Hacking Washington D.C.’s Internet voting
   ’16: Let’s Encrypt HTTPS certificate authority      ’10:   Vulnerabilities in India’s e-voting machines
   ’16: DROWN: Attacking TLS with SSLv2                ’10:   Reshaping developers’ security incentives
   ’15: Weak Diffie-Hellman and the Logjam attack      ’09:   Analysis of China’s Green Dam censorware
   ’14: Understanding Heartbleed’s aftermath           ’09:   Fingerprinting paper with desktop scanners
   ’14: Security problems in full-body scanners        ’08:   Cold-boot attacks on encryption keys
   ’14: Analysis of Estonia’s Internet voting system   ’07:   California’s “top-to-bottom” e-voting review
   ’13: ZMap Internet-wide network scanner             ’07:   Machine-assisted election auditing
   ’12: Widespread weak keys in network devices        ’06:   The Sony rootkit: DRM’s harmful side effects
   ’11: Anticensorship in the network infrastructure   ’03:   Analysis of MediaMax “shift key” DRM

Positions
 – University of Michigan, Ann Arbor, MI
   Department of Electrical Engineering and Computer Science,
   Computer Science and Engineering Division
   Professor . . . (2016–present)
   Associate Professor . . . (2015–2016)
   Assistant Professor . . . (2009–2015)
   Director, Center for Computer Security and Society (2014–present)
 – Censys; Co-founder and Chief Scientist (2017–present)

Education
 – Ph.D. in Computer Science, Princeton University, June 2009
   Advisor: Ed Felten
   Thesis: Investigating Security Failures and their Causes: An Analytic Approach to Computer Security
   Doctoral committee: Andrew Appel, Adam Finkelstein, Brian Kernighan, Avi Rubin
 – A.B. in Computer Science, summa cum laude, Princeton University, June 2003


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Honors and Awards
 – Merit Network’s Eric Aupperle Innovation Award (2017)
   (“named for Merit’s first president, recognizes individuals that enhance their work by using networking
   and related technologies in exciting ways”)
 – Pwnie Award in the category of “Best Cryptographic Attack”
   for “DROWN: Breaking TLS using SSLv2,” Black Hat 2016
 – Finalist for 2016 Facebook Internet Defense Prize
   for “DROWN: Breaking TLS using SSLv2”
 – Named one of Popular Science’s “Brilliant 10” (2015) (“each year Popular Science honors the
   brightest young minds reshaping science, engineering, and the world”)
 – Best Paper Award of the 22nd ACM Conference on Computer and Communications Security
   for “Imperfect Forward Secrecy: How Diffie-Hellman Fails in Practice” (2015)
 – Pwnie Award in the category of “Most Innovative Research”
   for “Imperfect Forward Secrecy: How Diffie-Hellman Fails in Practice,” Black Hat 2015
 – IRTF Applied Networking Research Prize for “Neither Snow Nor Rain Nor MITM. . . An Empiri-
   cal Analysis of Email Delivery Security” (2015)
 – Alfred P. Sloan Research Fellowship (2015)
 – University of Michigan College of Engineering 1938 E Award (2015) (“recognizes an outstanding
   teacher in both elementary and advanced courses, an understanding counselor of students who seek
   guidance in their choice of a career, a contributor to the educational growth of the College, and a teacher
   whose scholarly integrity pervades his/her service and the profession of Engineering”)
 – Morris Wellman Faculty Development Assistant Professorship (2015)
   (“awarded to a junior faculty member to recognize outstanding contributions to teaching and research”)
 – Best Paper Award of the 14th ACM Internet Measurement Conference
   for “The Matter of Heartbleed” (2014)
 – Best Paper Award of the 21st USENIX Security Symposium
   for “Mining Your Ps and Qs: Detection of Widespread Weak Keys in Network Devices” (2012)
 – Runner-up for 2012 PET Award for Outstanding Research in Privacy Enhancing Technologies
   for “Telex: Anticensorship in the Network Infrastructure” (2012)
 – John Gideon Memorial Award from the Election Verification Network
   for contributions to election verification (2011)
 – Best Student Paper of the 17th USENIX Security Symposium
   for “Lest We Remember: Cold Boot Attacks on Encryption Keys” (2008)
 – Pwnie Award in the category of “Most Innovative Research”
   for “Lest We Remember: Cold Boot Attacks on Encryption Keys,” Black Hat 2008
 – Charlotte Elizabeth Procter Honorific Fellowship, Princeton University (2007)
   (“awarded in recognition of outstanding performance and professional promise, and represents high
   commendation from the Graduate School”)


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 – National Science Foundation Graduate Research Fellowship (2004–2007)
 – Best Paper Award of the 8th International Conference on 3D Web Technology
   for “Early Experiences with a 3D Model Search Engine” (2003)
 – Princeton Computer Science Department Senior Award (2003)
 – Accenture Prize in Computer Science, Princeton University (2002)
 – Martin A. Dale Summer Award, Princeton University (2000)
 – USA Computing Olympiad National Finalist (1996 and 1997)

Refereed Conference Publications
[1] 403 Forbidden: A Global View of Geoblocking
    Allison McDonald, Matthew Bernhard, Benjamin VanderSloot, Will Scott, J. A. Halderman, and
    Roya Ensafi
    To appear in Proc. 18th ACM Internet Measurement Conference (IMC), October 2018.
[2] Scalable Remote Measurement of Application-Layer Censorship
    Benjamin VanderSloot, Allison McDonald, Will Scott, J. A. Halderman, and Roya Ensafi
    To appear in Proc. 27th USENIX Security Symposium, August 2018.
    Acceptance rate: 19%, 100/524.
[3] Tracking Certificate Misissuance in the Wild
    Deepak Kumar, Zhengping Wang, Matthew Hyder, Joseph Dickinson, Gabrielle Beck, David
    Adrian, Joshua Mason, Zakir Durumeric, J. A. Halderman, and Michael Bailey
    Proc. 39th IEEE Symposium on Security and Privacy (“Oakland”), May 2018.
[4] Initial Measurements of the Cuban Street Network
    Eduardo Pujol, Will Scott, Eric Wustrow, and J. A. Halderman
    Proc. 17th ACM Internet Measurement Conference (IMC), London, November 2017.
    Acceptance rate: 23%, 42/179.
[5] Public Evidence from Secret Ballots
    Matthew Bernhard, Josh Benaloh, J. A. Halderman, Ronald L. Rivest, Peter Y. A. Ryan, Philip B.
    Stark, Vanessa Teague, Poorvi L. Vora, and Dan S. Wallach
    Proc. 2nd International Joint Conference on Electronic Voting (E-Vote-ID), Bregenz, Austria,
    October 2017.
[6] Understanding the Mirai Botnet
    Manos Antonakakis, Tim April, Michael Bailey, Matt Bernhard, Elie Bursztein, Jaime Cochran,
    Zakir Durumeric, J. A. Halderman, Luca Invernizzi, Michalis Kallitsis, Deepak Kumar, Chaz
    Lever, Zane Ma, Joshua Mason, Damian Menscher, Chad Seaman, Nick Sullivan, Kurt Thomas,
    and Yi Zhou
    Proc. 26th USENIX Security Symposium, Vancouver, BC, August 2017.
    Acceptance rate: 16%, 85/522.



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 [7] Security Challenges in an Increasingly Tangled Web
     Deepak Kumar, Zane Ma, Zakir Durumeric, Ariana Mirian, Joshua Mason, J. A. Halderman,
     and Michael Bailey
     Proc. 26th World Wide Web Conference (WWW), April 2017.
     Acceptance rate: 17%, 164/966.
 [8] The Security Impact of HTTPS Interception
     Zakir Durumeric, Zane Ma, Drew Springall, Richard Barnes, Nick Sullivan, Elie Bursztein,
     Michael Bailey, J. A. Halderman, and Vern Paxson
     Proc. 24th Network and Distributed Systems Symposium (NDSS), February 2017.
     Acceptance rate: 16%, 68/423.
 [9] Measuring Small Subgroup Attacks Against Diffie-Hellman
     Luke Valenta, David Adrian, Antonio Sanso, Shaanan Cohney, Joshua Fried, Marcella Hastings,
     J. A. Halderman, and Nadia Heninger
     Proc. 24th Network and Distributed Systems Symposium (NDSS), February 2017.
     Acceptance rate: 16%, 68/423.
[10] An Internet-Wide View of ICS Devices
     Ariana Mirian, Zane Ma, David Adrian, Matthew Tischer, Thasphon Chuenchujit, Tim Yardley,
     Robin Berthier, Josh Mason, Zakir Durumeric, J. A. Halderman, and Michael Bailey
     Proc. 14th IEEE Conference on Privacy, Security, and Trust (PST), Auckland, NZ, December 2016.
[11] Implementing Attestable Kiosks
     Matthew Bernhard, J. A. Halderman, and Gabe Stocco
     Proc. 14th IEEE Conference on Privacy, Security, and Trust (PST), Auckland, NZ, December 2016.
[12] A Security Analysis of Police Computer Systems
     Benjamin VanderSloot, Stuart Wheaton, and J. A. Halderman
     Proc. 14th IEEE Conference on Privacy, Security, and Trust (PST), Auckland, NZ, December 2016.
[13] Measuring the Security Harm of TLS Crypto Shortcuts
     Drew Springall, Zakir Durumeric, and J. A. Halderman
     Proc. 16th ACM Internet Measurement Conference (IMC), Santa Monica, November 2016.
     Acceptance rate: 25%, 46/184.
[14] Towards a Complete View of the Certificate Ecosystem
     Benjamin VanderSloot, Johanna Amann, Matthew Bernhard, Zakir Durumeric, Michael Bailey,
     and J. A. Halderman
     Proc. 16th ACM Internet Measurement Conference (IMC), Santa Monica, November 2016.
     Acceptance rate: 25%, 46/184.
[15] DROWN: Breaking TLS using SSLv2
     Nimrod Aviram, Sebastian Schinzel, Juraj Somorovsky, Nadia Heninger, Maik Dankel, Jens
     Steube, Luke Valenta, David Adrian, J. A. Halderman, Viktor Dukhovni, Emilia Käsper,
     Shaanan Cohney, Susanne Engels, Christof Paar, and Yuval Shavitt
     Proc. 25th USENIX Security Symposium, Austin, TX, August 2016.

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    Acceptance rate: 16%, 72/463.
    Tied for highest ranked submission.
    Pwnie award for best cryptographic attack.
    Facebook Internet Defense Prize finalist.
[16] FTP: The Forgotten Cloud
     Drew Springall, Zakir Durumeric, and J. A. Halderman
     Proc. 46th IEEE/IFIP International Conference on Dependable Systems and Networks (DSN),
     Toulouse, June 2016.
     Acceptance rate: 22%, 58/259.
[17] Android UI Deception Revisited: Attacks and Defenses
     Earlence Fernandes, Qi Alfred Chen, Justin Paupore, Georg Essl, J. A. Halderman, Z. Morley
     Mao, and Atul Prakash
     Proc. 20th International Conference on Financial Cryptography and Data Security (FC), Barbados,
     February 2016.
[18] Imperfect Forward Secrecy: How Diffie-Hellman Fails in Practice
     David Adrian, Karthikeyan Bhargavan, Zakir Durumeric, Pierrick Gaudry, Matthew Green,
     J. A. Halderman, Nadia Heninger, Drew Springall, Emmanuel Thomé, Luke Valenta, Benjamin
     VanderSloot, Eric Wustrow, Santiago Zanella-Béguelin, and Paul Zimmermann
     Proc. 22nd ACM Conference on Computer and Communications Security (CCS), Denver, CO,
     October 2015.
     Acceptance rate: 19%, 128/659.
     Best paper award. Perfect review score.
     Pwnie award for most innovative research.
[19] Censys: A Search Engine Backed by Internet-Wide Scanning
     Zakir Durumeric, David Adrian, Ariana Mirian, Michael Bailey, and J. A. Halderman
     Proc. 22nd ACM Conference on Computer and Communications Security (CCS), Denver, CO,
     October 2015.
     Acceptance rate: 19%, 128/659.
[20] Neither Snow Nor Rain Nor MITM. . . An Empirical Analysis of Email Delivery Security
     Zakir Durumeric, David Adrian, Ariana Mirian, James Kasten, Elie Bursztein, Nicholas
     Lidzborski, Kurt Thomas, Vijay Eranti, Michael Bailey, and J. A. Halderman
     Proc. 15th ACM Internet Measurement Conference (IMC), Tokyo, October 2015.
     Acceptance rate: 26%, 44/169.
     IRTF Applied Networking Research Prize winner.
[21] The New South Wales iVote System:
     Security Failures and Verification Flaws in a Live Online Election
     J. A. Halderman and Vanessa Teague
     Proc. 5th International Conference on E-Voting and Identity (VoteID), Bern, Switzerland, Septem-
     ber 2015.


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[22] The Matter of Heartbleed
     Zakir Durumeric, Frank Li, James Kasten, Johanna Amann, Jethro Beekman, Mathias Payer,
     Nicolas Weaver, David Adrian, Vern Paxson, Michael Bailey, and J. A. Halderman
     Proc. 14th ACM Internet Measurement Conference (IMC), November 2014.
     Acceptance rate: 23%, 43/188
     Best paper award.
     Honorable mention for Best dataset award.
[23] Security Analysis of the Estonian Internet Voting System
     Drew Springall, Travis Finkenauer, Zakir Durumeric, Jason Kitcat, Harri Hursti, Margaret
     MacAlpine, and J. A. Halderman
     Proc. 21st ACM Conference on Computer and Communications Security (CCS), Scottsdale, AZ,
     November 2014.
     Acceptance rate: 19%, 114/585.
     Highest ranked submission.
[24] Efficiently Auditing Multi-Level Elections
     Joshua A. Kroll, Edward W. Felten, and J. A. Halderman
     Proc. 6th International Conference on Electronic Voting (EVOTE), Lochau, Austria, October 2014.
[25] Security Analysis of a Full-Body Scanner
     Keaton Mowery, Eric Wustrow, Tom Wypych, Corey Singleton, Chris Comfort, Eric Rescorla,
     Stephen Checkoway, J. A. Halderman, and Hovav Shacham
     Proc. 23rd USENIX Security Symposium, San Diego, CA, August 2014.
     Acceptance rate: 19%, 67/350.
[26] TapDance: End-to-Middle Anticensorship without Flow Blocking
     Eric Wustrow, Colleen Swanson, and J. A. Halderman
     Proc. 23rd USENIX Security Symposium, San Diego, CA, August 2014.
     Acceptance rate: 19%, 67/350.
[27] An Internet-Wide View of Internet-Wide Scanning
     Zakir Durumeric, Michael Bailey, and J. A. Halderman
     Proc. 23rd USENIX Security Symposium, San Diego, CA, August 2014.
     Acceptance rate: 19%, 67/350.
[28] Elliptic Curve Cryptography in Practice
     Joppe W. Bos, J. A. Halderman, Nadia Heninger, Jonathan Moore, Michael Naehrig, and Eric
     Wustrow
     Proc. 18th Intl. Conference on Financial Cryptography and Data Security (FC), March 2014.
     Acceptance rate: 22%, 31/138.
[29] Outsmarting Proctors with Smartwatches: A Case Study on Wearable Computing Security
     Alex Migicovsky, Zakir Durumeric, Jeff Ringenberg, and J. A. Halderman
     Proc. 18th Intl. Conference on Financial Cryptography and Data Security (FC), March 2014.
     Acceptance rate: 22%, 31/138.


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[30] Analysis of the HTTPS Certificate Ecosystem
     Zakir Durumeric, James Kasten, Michael Bailey, and J. A. Halderman
     Proc. 13th ACM Internet Measurement Conference (IMC), Barcelona, Spain, October 2013.
     Acceptance rate: 24%, 42/178.
[31] ZMap: Fast Internet-Wide Scanning and its Security Applications
     Zakir Durumeric, Eric Wustrow, and J. A. Halderman
     Proc. 22nd USENIX Security Symposium, Washington, D.C., August 2013.
     Acceptance rate: 16%, 45/277.
[32] CAge: Taming Certificate Authorities by Inferring Restricted Scopes
     James Kasten, Eric Wustrow, and J. A. Halderman
     Proc. 17th Intl. Conference on Financial Cryptography and Data Security (FC), April 2013.
[33] Mining Your Ps and Qs: Detection of Widespread Weak Keys in Network Devices
     Nadia Heninger, Zakir Durumeric, Eric Wustrow, and J. A. Halderman
     Proc. 21st USENIX Security Symposium, pages 205–220, Bellevue, WA, August 2012.
     Acceptance rate: 19%, 43/222.
     Best paper award.
     Named one of Computing Reviews’ Notable Computing Books and Articles of 2012.
[34] Attacking the Washington, D.C. Internet Voting System
     Scott Wolchok, Eric Wustrow, Dawn Isabel, and J. A. Halderman
     In Angelos D. Keromytis, editor, Financial Cryptography and Data Security (FC), volume 7397 of
     Lecture Notes in Computer Science, pages 114–128. Springer, 2012.
     Acceptance rate: 26%, 23/88.
     Election Verification Network John Gideon Memorial Award.
[35] Telex: Anticensorship in the Network Infrastructure
     Eric Wustrow, Scott Wolchok, Ian Goldberg, and J. A. Halderman
     Proc. 20th USENIX Security Symposium, pages 459–474, San Francisco, CA, August 2011.
     Acceptance rate: 17%, 35/204.
     Runner-up for 2012 PET Award for Outstanding Research in Privacy Enhancing Technologies.
[36] Internet Censorship in China: Where Does the Filtering Occur?
     Xueyang Xu, Z. Morley Mao, and J. A. Halderman
     In Neil Spring and George F. Riley, editors, Passive and Active Measurement, volume 6579 of
     Lecture Notes in Computer Science, pages 133–142. Springer, 2011.
     Acceptance rate: 29%, 23/79.
[37] Absolute Pwnage: Security Risks of Remote Administration Tools
     Jay Novak, Jonathan Stribley, Kenneth Meagher, and J. A. Halderman
     In George Danezis, editor, Financial Cryptography and Data Security (FC), volume 7035 of Lecture
     Notes in Computer Science, pages 77–84. Springer, 2011.
     Acceptance rate: 20%, 15/74.



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[38] Security Analysis of India’s Electronic Voting Machines
     Scott Wolchok, Eric Wustrow, J. A. Halderman, Hari K. Prasad, Arun Kankipati, Sai Krishna
     Sakhamuri, Vasavya Yagati, and Rop Gonggrijp
     Proc. 17th ACM Conference on Computer and Communications Security (CCS), pages 1–14. ACM,
     Chicago, IL, October 2010.
     Acceptance rate: 17%, 55/320.
     Highest ranked submission.
[39] Sketcha: A Captcha Based on Line Drawings of 3D Models
     Steve Ross, J. A. Halderman, and Adam Finkelstein
     Proc. 19th International World Wide Web Conference (WWW), pages 821–830. ACM, Raleigh, NC,
     April 2010.
     Acceptance rate: 12%, 91/754.
[40] Defeating Vanish with Low-Cost Sybil Attacks Against Large DHTs
     Scott Wolchok, Owen S. Hofmann, Nadia Heninger, Edward W. Felten, J. A. Halderman,
     Christopher J. Rossbach, Brent Waters, and Emmett Witchel
     In Proc. 17th Network and Distributed System Security Symposium (NDSS). Internet Society, San
     Diego, CA, February–March 2010.
     Acceptance rate: 15%, 24/156.
[41] Fingerprinting Blank Paper Using Commodity Scanners
     William Clarkson, Tim Weyrich, Adam Finkelstein, Nadia Heninger, J. A. Halderman, and
     Edward W. Felten
     IEEE Symposium on Security and Privacy (“Oakland”), pages 301–314. IEEE, May 2009.
     Acceptance rate: 10%, 26/254.
[42] Lest We Remember: Cold-Boot Attacks on Encryption Keys
     J. A. Halderman, Seth D. Schoen, Nadia Heninger, William Clarkson, William Paul, Joseph A.
     Calandrino, Ariel J. Feldman, Jacob Appelbaum, and Edward W. Felten
     Proc. 17th USENIX Security Symposium, pages 45–60, San Jose, CA, July 2008.
     Acceptance rate: 16%, 27/170.
     Best student paper award.
     Pwnie award for most innovative research.
[43] Harvesting Verifiable Challenges from Oblivious Online Sources
     J. A. Halderman and Brent Waters
     Proc. 14th ACM Conference on Computer and Communications Security (CCS), pages 330–341.
     ACM, Washington, D.C., October 2007.
     Acceptance rate: 18%, 55/302.
[44] Lessons from the Sony CD DRM Episode
     J. A. Halderman and Edward W. Felten
     Proc. 15th USENIX Security Symposium, pages 77–92, Vancouver, BC, August 2006.
     Acceptance rate: 12%, 22/179.


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[45] A Convenient Method for Securely Managing Passwords
     J. A. Halderman, Brent Waters, and Edward W. Felten
     Proc. 14th International World Wide Web Conference (WWW), pages 471–479. ACM, Chiba, Japan,
     May 2005.
     Acceptance rate: 14%, 77/550.
[46] New Client Puzzle Outsourcing Techniques for DoS Resistance
     Brent Waters, Ari Juels, J. A. Halderman, and Edward W. Felten
     Proc. 11th ACM Conference on Computer and Communications Security (CCS), pages 246–256.
     ACM, Washington, D.C., October 2004.
     Acceptance rate: 14%, 35/251.
[47] Early Experiences with a 3D Model Search Engine
     Patrick Min, J. A. Halderman, Michael Kazhdan, and Thomas Funkhouser
     Proc. 8th International Conference on 3D Web Technology (Web3D), pages 7–18. ACM, Saint Malo,
     France, March 2003.
     Best paper award.

Book Chapters
[48] Practical Attacks on Real-world E-voting
     J. A. Halderman
     In Feng Hao and Peter Y. A. Ryan (Eds.), Real-World Electronic Voting: Design, Analysis and
     Deployment, pages 145–171, CRC Press, December 2016.

Journal Publications
[49] Lest We Remember: Cold-Boot Attacks on Encryption Keys
     J. A. Halderman, Seth D. Schoen, Nadia Heninger, William Clarkson, William Paul, Joseph A.
     Calandrino, Ariel J. Feldman, Jacob Appelbaum, and Edward W. Felten
     Communications of the ACM, 52(5):91–98, 2009.
[50] A Search Engine for 3D Models
     Thomas Funkhouser, Patrick Min, Michael Kazhdan, Joyce Chen, J. A. Halderman, David P.
     Dobkin, and David Jacobs
     ACM Transactions on Graphics (TOG), 22(1):83–105, 2003.

Refereed Workshop Publications
[51] An ISP-Scale Deployment of TapDance
     Sergey Frolov, Fred Douglas, Will Scott, Allison McDonald, Benjamin VanderSloot, Rod Hynes,
     Adam Kruger, Michalis Kallitsis, David G. Robinson, Nikita Borisov, J. A. Halderman, and Eric
     Wustrow
     Proc. 7th USENIX Workshop on Free and Open Communications on the Internet (FOCI), August
     2017.

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[52] Content-Based Security for the Web
     Alexander Afanasyev, J. A. Halderman, Scott Ruoti, Kent Seamons, Yingdi Yu, Daniel Zappala,
     and Lixia Zhang
     Proc. 2016 New Security Paradigms Workshop (NSPW), September 2016.
[53] Umbra: Embedded Web Security through Application-Layer Firewalls
     Travis Finkenauer and J. A. Halderman
     Proc. 1st Workshop on the Security of Cyberphysical Systems (WOS-CPS), Vienna, Austria, Septem-
     ber 2015.
[54] Replication Prohibited: Attacking Restricted Keyways with 3D Printing
     Ben Burgess, Eric Wustrow, and J. A. Halderman
     Proc. 9th USENIX Workshop on Offensive Technologies (WOOT), Washington, DC, August 2015.
[55] Green Lights Forever: Analyzing the Security of Traffic Infrastructure
     Branden Ghena, William Beyer, Allen Hillaker, Jonathan Pevarnek, and J. A. Halderman
     Proc. 8th USENIX Workshop on Offensive Technologies (WOOT), San Diego, CA, August 2014.
[56] Zippier ZMap: Internet-Wide Scanning at 10Gbps
     David Adrian, Zakir Durumeric, Gulshan Singh, and J. A. Halderman
     Proc. 8th USENIX Workshop on Offensive Technologies (WOOT), San Diego, CA, August 2014.
[57] Internet Censorship in Iran: A First Look
     Simurgh Aryan, Homa Aryan, and J. A. Halderman
     Proc. 3rd USENIX Workshop on Free and Open Communications on the Internet (FOCI), Washing-
     ton, D.C., August 2013.
[58] Illuminating the Security Issues Surrounding Lights-Out Server Management
     Anthony Bonkoski, Russ Bielawski, and J. A. Halderman
     Proc. 7th USENIX Workshop on Offensive Technologies (WOOT), Washington, D.C., August 2013.
[59] Crawling BitTorrent DHTs for Fun and Profit
     Scott Wolchok and J. A. Halderman
     Proc. 4th USENIX Workshop on Offensive Technologies (WOOT), Washington, D.C., August 2010.
[60] Can DREs Provide Long-Lasting Security?
     The Case of Return-Oriented Programming and the AVC Advantage
     Steve Checkoway, Ariel J. Feldman, Brian Kantor, J. A. Halderman, Edward W. Felten, and
     Hovav Shacham
     Proc. 2009 USENIX/ACCURATE/IAVoSS Electronic Voting Technology Workshop / Workshop on
     Trustworthy Elections (EVT/WOTE), Montreal, QC, August 2009.
[61] You Go to Elections with the Voting System You Have:
     Stop-Gap Mitigations for Deployed Voting Systems
     J. A. Halderman, Eric Rescorla, Hovav Shacham, and David Wagner
     In Proc. 2008 USENIX/ACCURATE Electronic Voting Technology Workshop (EVT), San Jose, CA,
     July 2008.


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[62] In Defense of Pseudorandom Sample Selection
     Joseph A. Calandrino, J. A. Halderman, and Edward W. Felten
     Proc. 2008 USENIX/ACCURATE Electronic Voting Technology Workshop (EVT), San Jose, CA, July
     2008.
[63] Security Analysis of the Diebold AccuVote-TS Voting Machine
     Ariel J. Feldman, J. A. Halderman, and Edward W. Felten
     Proc. 2007 USENIX/ACCURATE Electronic Voting Technology Workshop (EVT), Washington, D.C.,
     August 2007.
[64] Machine-Assisted Election Auditing
     Joseph A. Calandrino, J. A. Halderman, and Edward W. Felten
     Proc. USENIX/ACCURATE Electronic Voting Technology Workshop (EVT), Washington, D.C.,
     August 2007.
[65] Privacy Management for Portable Recording Devices
     J. A. Halderman, Brent Waters, and Edward W. Felten
     Proc. 2004 ACM Workshop on Privacy in the Electronic Society (WPES), pages 16–24, ACM,
     Washington, D.C., October 2004.
     Acceptance rate: 22%, 10/45.
[66] Evaluating New Copy-Prevention Techniques for Audio CDs
     J. A. Halderman
     In Joan Feigenbaum, editor, Digital Rights Management, volume 2696 of Lecture Notes in Com-
     puter Science, pages 101–117. Springer, 2003.

Selected Other Publications
[67] U.S. Senate Testimony Regarding Russian Interference in the 2016 U.S. Elections
     J. A. Halderman
     Testimony before the U.S. Senate Select Committee on Intelligence, June 21, 2017.
[68] Here’s How to Keep Russian Hackers from Attacking the 2018 Elections
     J. A. Halderman and J. Talbot-Zorn
     The Washington Post, June 21, 2017.
[69] Want to Know if the Election was Hacked? Look at the Ballots
     J. A. Halderman
     Posted on Medium, November 23, 2016. (Read by over a million people.)
[70] The Security Challenges of Online Voting Have Not Gone Away
     Robert Cunningham, Matthew Bernhard, and J. A. Halderman
     IEEE Spectrum, November 3, 2016.




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[71] TIVOS: Trusted Visual I/O Paths for Android
     Earlence Fernandes, Qi Alfred Chen, Georg Essl, J. A. Halderman, Z. Morley Mao, and Atul
     Prakash
     Technical report, Computer Science and Engineering Division, University of Michigan, Ann
     Arbor, MI, May 2014.
[72] Tales from the Crypto Community:
     The NSA Hurt Cybersecurity. Now It Should Come Clean
     Nadia Heninger and J. A. Halderman
     Foreign Affairs, October 23, 2013.
[73] Ethical Issues in E-Voting Security Analysis
     David G. Robinson and J. A. Halderman
     In George Danezis, Sven Dietrich, and Kazue Sako, editors, Financial Cryptography and Data
     Security, volume 7126 of Lecture Notes in Computer Science, pages 119–130. Springer, 2011.
     Invited paper.
[74] To Strengthen Security, Change Developers’ Incentives
     J. A. Halderman
     IEEE Security & Privacy, 8(2):79–82, March/April 2010.
[75] Analysis of the Green Dam Censorware System
     Scott Wolchok, Randy Yao, and J. A. Halderman
     Technical report, Computer Science and Engineering Division, University of Michigan, Ann
     Arbor, MI, June 2009.
[76] AVC Advantage: Hardware Functional Specifications
     J. A. Halderman and Ariel J. Feldman
     Technical report, TR-816-08, Princeton University Computer Science Department, Princeton,
     New Jersey, March 2008.
[77] Source Code Review of the Diebold Voting System
     J. A. Calandrino, A. J. Feldman, J. A. Halderman, D. Wagner, H. Yu, and W. Zeller
     Technical report, California Secretary of State’s “Top-to-Bottom” Voting Systems Review (TTBR),
     July 2007.
[78] Digital Rights Management, Spyware, and Security
     Edward W. Felten and J. A. Halderman
     IEEE Security & Privacy, 4(1):18–23, January/February 2006.
[79] Analysis of the MediaMax CD3 Copy-Prevention System
     J. A. Halderman
     Technical report, TR-679-03, Princeton University Computer Science Department, Princeton,
     New Jersey, October 2003.




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Selected Legal and Regulatory Filings
[80] Request for DMCA Exemption: Security Research
     Petition to the U.S. Copyright Office of Ed Felten and J. Alex Halderman, represented by
     Elizabeth Field, Justin Manusov, Brett Hildebrand, Alex Kimata, and Blake Reid, regarding the
     Seventh Triennial Section 1201 Proceeding, 2017–18.
[81] Request for DMCA Exemption: Security Research
     Petition to the Librarian of Congress of S. M. Bellovin, M. Blaze, E. W. Felten, J. A. Halderman,
     and N. Heninger, represented by Andrea Matwyshyn, regarding the U.S. Copyright Office
     2014–2015 DMCA Anticircumvention Rulemaking, Nov. 2014.
     (Outcome: Requested exemption granted in part.)
[82] Request for DMCA Exemption: Games with Insecure DRM and Insecure DRM Generally
     Petition to the Librarian of Congress of J. A. Halderman, represented by B. Reid, P. Ohm, H.
     Surden, and J. B. Bernthal, regarding the U.S. Copyright Office 2008–2010 DMCA Anticircum-
     vention Rulemaking, Dec. 2008.
     (Outcome: Requested exemption granted in part.)
[83] Request for DMCA Exemption for Audio CDs with Insecure DRM
     Petition to the Librarian of Congress of E. Felten and J. A. Halderman, represented by D.
     Mulligan and A. Perzanowski, regarding the U.S. Copyright Office 2005–2006 DMCA Anticir-
     cumvention Rulemaking, Dec. 2005.
     (Outcome: Requested exemption granted in part.)

Patents
[84] Controlling Download and Playback of Media Content
     Wai Fun Lee, Marius P. Schilder, Jason D. Waddle, and J. A. Halderman
     U.S. Patent No. 8,074,083, issued Dec. 2011.
[85] System and Method for Machine-Assisted Election Auditing
     Edward W. Felten, Joseph A. Calandrino, and J. A. Halderman
     U.S. Patent No. 8,033,463, issued Oct. 2011.

Speaking
Major Invited Talks and Keynotes
  – U.S. Senate Testimony Regarding Russian Interference in the 2016 U.S. Elections
    Testimony before the U.S. Senate Select Committee on Intelligence, June 21, 2017.
  – Recount 2016: A Security Audit of the U.S. Presidential Election
    Keynote talk, NDSS 2017, February 27, 2017.
  – Recount 2016: An Uninvited Security Audit of the U.S. Presidential Election
    33c3, Hamburg, December 28, 2016.


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– Elections and Cybersecurity: What Could Go Wrong?
  Keynote speaker, Merit Security Summit, Ypsilanti, MI, November 7, 2016.
– Let’s Encrypt
  Invited speaker, TTI/Vanguard conference on Cybersecurity, Washington, D.C., Sept. 28, 2016.
– Elections and Cybersecurity: What Could Go Wrong?
  Keynote speaker, 19th Information Security Conference (ISC), Honolulu, September 9, 2016.
– Internet Voting: What Could Go Wrong?
  Invited speaker, USENIX Enigma, San Francisco, January 27, 2016.
– Logjam: Diffie-Hellman, Discrete Logs, the NSA, and You
  32c3, Hamburg, December 29, 2015.
– The Network Inside Out: New Vantage Points for Internet Security
  Invited talk, China Internet Security Conference (ISC), Beijing, September 30, 2015.
– The Network Inside Out: New Vantage Points for Internet Security
  Keynote speaker, ESCAR USA (Embedded Security in Cars), Ypsilanti, Michigan, May 27, 2015.
– Security Analysis of the Estonian Internet Voting System
  31c3, Hamburg, December 28, 2014.
– The Network Inside Out: New Vantage Points for Internet Security
  Keynote speaker, 14th Brazilian Symposium on Information Security and Computer Systems
  (SBSeg), Belo Horizonte, Brazil, November 4, 2014.
– Empirical Cryptography: Measuring How Crypto is Used and Misused Online
  Keynote speaker, 3rd International Conference on Cryptography and Information Security in
  Latin America (Latincrypt), Florianópolis, Brazil, September 2014.
– Healing Heartbleed: Vulnerability Mitigation with Internet-wide Scanning
  Keynote speaker, 11th Conference on Detection of Intrusions and Malware and Vulnerability
  Assessment (DIMVA), London, July 10, 2014.
– Fast Internet-wide Scanning and its Security Applications
  30c3, Hamburg, December 28, 2013.
– Challenging Security Assumptions. Three-part tutorial. 2nd TCE Summer School on Com-
  puter Security, Technion (Haifa, Israel), July 23, 2013.
– Verifiably Insecure: Perils and Prospects of Electronic Voting
  Invited talk, Computer Aided Verification (CAV) 2012 (Berkeley, CA), July 13, 2012.
– Deport on Arrival: Adventures in Technology, Politics, and Power
  Invited talk, 20th USENIX Security Symposium (San Francisco, CA), Aug. 11, 2011.
– Electronic Voting: Danger and Opportunity
  Keynote speaker, ShmooCon 2008 (Washington, D.C.), Feb. 15, 2008.



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Selected Talks (2009–present)
 – The Security Impact of HTTPS Interception. Invited talk, GOTO Copenhagen, Oct. 2, 2017.
 – Let’s Encrypt: A Certificate Authority to Encrypt the Entire Web. Invited talk, Summer
   school on real-world crypto and privacy, Croatia, June 9, 2017; Invited talk, Cubaconf, Havana,
   April 25, 2016.
 – Cybersecurity and U.S. Elections
   Invited speaker, Global Election Summit, San Francisco, May 17, 2017; Invited speaker, Wolver-
   ine Caucus Forum, Lansing, February 21, 2017; Invited speaker, CSE Science on Screen at
   Michigan Theater, Ann Arbor, January 25, 2017.
 – The Legacy of Export-grade Cryptography in the 21st Century. Invited talk, Summer school
   on real-world crypto and privacy, Croatia, June 9, 2016.
 – Logjam: Diffie-Hellman, Discrete Logs, the NSA, and You. Invited talk, NYU Tandon School
   of Engineering, April 8, 2016 [host: Damon McCoy]; Invited talk, UIUC Science of Security
   seminar, February 9, 2016 [host: Michael Bailey].
 – The Network Inside Out: New Vantage Points for Internet Security. Invited talk, Qatar
   Computing Research Institute, Doha, May 24, 2015; Invited talk, University of Chile, Santiago,
   April 8, 2015; Invited talk, Princeton University, October 15, 2014; Invited talk, U.T. Austin,
   March 9, 2014.
 – Decoy Routing: Internet Freedom in the Network’s Core. Invited speaker, Internet Freedom
   Technology Showcase: The Future of Human Rights Online, New York, Sep. 26, 2015.
 – The New South Wales iVote System: Security Failures and Verification Flaws in a Live On-
   line Election. 5th International Conference on E-Voting and Identity (VoteID), Bern, Switzer-
   land, Sep. 3, 2015; Invited talk, IT Univ. of Copenhagen, Sep. 1, 2015; Invited talk (with Vanessa
   Teague), USENIX Journal of Election Technologies and Systems Workshop (JETS), Washington,
   D.C., Aug. 11, 2015.
 – Security Analysis of the Estonian Internet Voting System. Invited talk, 5th International
   Conference on E-Voting and Identity (VoteID), Bern, Switzerland, Sep. 3, 2015; Invited talk,
   Google, Mountain View, CA, June 3, 2014; Invited talk, Copenhagen University, June 12, 2014.
 – Indiscreet Tweets. Rump session talk; 24th USENIX Security Symposium, Washington, D.C.,
   August 12, 2015.
 – How Diffie-Hellman Fails in Practice. Invited talk, IT Univ. of Copenhagen, May 22, 2015.
 – Influence on Democracy of Computers, Internet, and Social Media. Invited speaker, Osher
   Lifelong Learning Institute at the University of Michigan, March 26, 2015.
 – E-Voting: Danger and Opportunity. Invited talk, University of Chile, Santiago, April 7, 2015;
   Keynote speaker, 14th Brazilian Symposium on Information Security and Computer Systems
   (SBSeg), Belo Horizonte, Brazil, November 3, 2014; Crypto seminar, University of Tartu, Estonia,
   October 10, 2013; Invited speaker, US–Egypt Cyber Security Workshop, Cairo, May 28, 2013;
   Invited speaker, First DemTech Workshop on Voting Technology for Egypt, Copenhagen, May
   1, 2013; Invited keynote, 8th CyberWatch Mid-Atlantic CCDC, Baltimore, MD, Apr. 10, 2013;

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  Invited speaker, Verifiable Voting Schemes Workshop, University of Luxembourg, Mar. 21, 2013;
  Invited speaker, MHacks hackathon, Ann Arbor, MI, Feb. 2, 2013; Public lecture, U. Michigan,
  Nov. 6, 2012.
– Internet Censorship in Iran: A First Look. 3rd USENIX Workshop on Free and Open Com-
  munications on the Internet (FOCI), Aug. 13, 2013.
– Mining Your Ps and Qs: Detection of Widespread Weak Keys in Network Devices. Invited
  talk, NSA, Aug. 8, 2013; Invited talk, Taiwan Information Security Center Workshop, National
  Chung-Hsing University (Taichung, Taiwan), Nov. 16, .2012
– Securing Digital Democracy. U. Maryland, Apr. 8, 2013 [host: Jonathan Katz]; CMU, Apr. 1,
  2013 [host: Virgil Gligor]; Cornell, Feb. 28, 2013 [host: Andrew Myers].
– Telex: Anticensorship in the Network Infrastructure. Invited speaker, Academia Sinica
  (Taipei), Nov. 14, 2012 [host: Bo-Yin Yang]; TRUST Seminar, U.C., Berkeley, Dec. 1, 2011 [host:
  Galina Schwartz]; Think Conference, Nov. 5, 2011; Ideas Lunch, Information Society Project at
  Yale Law School, Oct. 26, 2011; Invited speaker, Committee to Protect Journalists Online Press
  Freedom Summit (San Francisco), Sept. 27, 2011.
– Deport on Arrival: Adventures in Technology, Politics, and Power. Guest lecture, U-M
  School of Art and Design, Nov 5, 2012 [host: Osman Khan]; Invited speaker, CS4HS Workshop,
  U. Michigan, Aug. 21, 2012; Invited speaker, U. Michigan IEEE, Feb. 15, 2012.
– Attacking the Washington, D.C. Internet Voting System. Invited speaker, International Foun-
  dation for Election Systems (IFES), Nov. 2, 2012 [host: Michael Yard]; Invited speaker, IT
  University of Copenhagen, May 11, 2012 [host: Carsten Schürmann].
– Voter IDon’t. Rump session talk; 21st USENIX Security Symposium (Bellevue, WA), Aug. 8,
  2012; Rump session talk; EVT/WOTE ’12 (Bellevue, WA), Aug. 6, 2012 [with Josh Benaloh].
– Reed Smith’s Evening with a Hacker. Keynote speaker (New Brunswick, NJ), Oct. 20, 2011.
– Are DREs Toxic Waste? Rump session talk, 20th USENIX Security Symposium (San Francisco),
  Aug. 10, 2011; Rump session talk, EVT/WOTE ’11 (San Francisco), Aug. 8, 2011.
– Security Problems in India’s Electronic Voting Machines. Dagstuhl seminar on Verifiable
  Elections and the Public (Wadern, Germany), July 12, 2011; Harvard University, Center for
  Research on Computation and Society (CRCS) seminar, Jan. 24, 2011 [host: Ariel Procaccia];
  U. Michigan, CSE seminar, Nov. 18, 2010 [with Hari Prasad]; MIT, CSAIL CIS Seminar, Nov. 12,
  2010 [with Hari Prasad; host: Ron Rivest]; Distinguished lecture, U.C. San Diego, Department
  of Computer Science, Nov. 9, 2010 [with Hari Prasad; host: Hovav Shacham]; U.C. Berkeley,
  Center for Information Technology Research in the Interest of Society (CITRIS), Nov. 8, 2010
  [with Hari Prasad; host: Eric Brewer]; Google, Inc., Tech Talk (Mountain View, CA), Nov. 5,
  2010 [with Hari Prasad; host: Marius Schilder]; U.C., Berkeley TRUST Security Seminar, Nov.
  4, 2010 [with Hari Prasad; host: Shankar Sastry]; Stanford University, CS Department, Nov.
  3, 2010 [with Hari Prasad; host: David Dill]; Princeton University, Center for Information
  Technology Policy, Oct. 28, 2010 [with Hari Prasad, host: Ed Felten]; University of Texas at
  Austin, Department of Computer Science, Aug. 27, 2010 [host: Brent Waters].


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 – Ethical Issues in E-Voting Security Analysis. Invited talk, Workshop on Ethics in Computer
   Security Research (WECSR) (Castries, St. Lucia), Mar. 4, 2011 [with David Robinson].
 – Electronic Voting: Danger and Opportunity. Invited speaker, “Interfaces 10: Technology,
   Society and Innovation,” Center for Technology and Society (CTS/FGV) (Rio de Janeiro), Dec.
   2, 2010 [host: Ronaldo Lemos]; Invited speaker, Conference on “EVMs: How Trustworthy?,”
   Centre for National Renaissance (Chennai, India), Feb. 13, 2010; Google, Inc., Tech Talk
   (Mountain View, CA), Jan. 10, 2008; Star Camp (Cape Town, South Africa), Dec. 8, 2007; Lehigh
   University, Nov. 27, 2007; Princeton OiT Lunch-’n-Learn, Oct. 24, 2007; University of Waterloo
   (Canada), Feb. 28, 2007.
 – A New Approach to Censorship Resistance. Think Conference, Nov. 7, 2010.
 – Practical AVC-Edge CompactFlash Modifications can Amuse Nerds [PACMAN]. Rump ses-
   sion, 19th USENIX Security Symposium (Washington, D.C.), Aug. 11, 2010; Rump session,
   EVT/WOTE ’10 (Washington, D.C.), Aug. 9, 2010.
 – Legal Challenges to Security Research. Guest lecture, Law 633: Copyright, U. Michigan Law
   School, Apr. 7, 2010; Invited talk, University of Florida Law School, Oct. 12, 2006.
 – Adventures in Computer Security. Invited talk, Greenhills School, grades 6–12 (Ann Arbor,
   MI), Mar. 8, 2010.
 – The Role of Designers’ Incentives in Computer Security Failures. STIET Seminar, U. Michi-
   gan, Oct. 8, 2009.
 – Cold-Boot Attacks Against Disk Encryption. Invited speaker, SUMIT 09 Security Symposium,
   U. Michigan, Oct. 20, 2009.
 – On the Attack. Distinguished lecture, U.C. Berkeley EECS, Nov. 18, 2009.

Selected Other Speaking (2010–present)
 – Panelist: “Critical Infrastructure” Designation for Election Operations: Risks, Mitigations,
   & Import for 2018. Election Verification Network Conference, Miami, March 16, 2018.
 – Panelist: The Technology of Voting: Risks & Opportunities. U.C. Irvine Cybersecurity and
   Policy Research Institute, March 13, 2018.
 – Panelist: Election Law Conflicts and the Vulnerability of our Election Systems. Co-panelists:
   Stephen Berzon, Holly Lake, Harvey Saferstein. Ninth Circuit Judicial Conference, July 18,
   2017.
 – Congressional Briefing: Free, Automated, and Open Web Encryption.
   August 8, 2017; hosted by Congressional Cybersecurity Caucus.
 – Congressional Briefing: Strengthening Election Cybersecurity. Co-panelists: James Woolsey,
   Lt. Col. Tony Shaffer, Lawrence Norden, Susan Greenhalgh, James Scott; moderator: Karen
   Greenberg. May 15, 2017.
 – Moderator: Apple & the FBI: Encryption, Security, and Civil Liberties. Panelists: Nate
   Cardozo and Barbara McQuade. U-M Dissonance Speaker Series, April 12, 2016.



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– Moderator: Privacy, IT Security and Politics. Panelists: Ari Schwartz and David Sobel. U-M
  ITS SUMIT_2015, Oct. 22, 2015.
– Panelist: The Future of E-Voting Research. 5th International Conference on E-Voting and
  Identity (VoteID), Bern, Switzerland, Sep. 4, 2015.
– Moderator: Panel on Research Ethics. 24th USENIX Security Symposium, Washington, D.C.,
  August 13, 2015.
– Panelist: Theories of Privacy in Light of “Big Data.” Michigan Telecommunications and Tech-
  nology Law Review Symposium on Privacy, Technology, and the Law, University of Michigan
  Law School, Feb. 21, 2015.
– Panelist: Measuring Privacy. Big Privacy symposium, Princeton University CITP, Apr. 26,
  2013 [moderator: Ed Felten].
– Panelist: Civil Society’s Challenge in Preserving Civic Participation. The Public Voice work-
  shop: Privacy Rights are a Global Challenge, held in conjunction with the 34th International
  Conference of Data Protection and Privacy Commissioners, Punta del Este, Uruguay, Oct. 22,
  2012 [moderator: Lillie Coney].
– Panelist: Election Technologies: Today and Tomorrow. Microsoft Faculty Summit (Redmond),
  July 17, 2012 [moderator: Josh Benaloh].
– Panelist: Is America Ready to Vote on the Internet? CSPRI Seminar, George Washington
  University (Washington, D.C.), May 16, 2012 [moderator: Lance Hoffman].
– Panelist: Technical Methods of Circumventing Censorship. Global Censorship Conference,
  Yale Law School, Mar. 31, 2012.
– Panelist: Internet Voting. RSA Conference (San Francisco), Mar. 1, 2012 [moderator: Ron
  Rivest].
– Panelist: The Law and Science of Trustworthy Elections. Association of American Law
  Schools (AALS) Annual Meeting, Jan. 5, 2012 [moderator: Ron Rivest].
– Panelist: Connecticut Secretary of State’s Online Voting Symposium (New Britain, CT), Oct.
  27, 2011 [moderator: John Dankosky].
– Panelist: Cyber Security / Election Technology. Overseas Voting Foundation Summit, Feb. 10,
  2011 [moderator: Candice Hoke].
– Tutorial speaker/organizer: Security Issues in Electronic Voting, ICISS (Gandhinagar, India),
  Dec. 15, 2010 [canceled under threat of deportation].
– Invited testimony: On D.C. Board of Elections and Ethics Readiness for the Nov. 2010 Gen-
  eral Election. D.C. Council Hearing, Oct. 8, 2010.
– Panelist and organizer: India’s Electronic Voting Machines. EVT/WOTE (Washington, D.C.),
  Aug. 9, 2010.
– Panelist: Ethics in Networking and Security Research. ISOC Network and Distributed System
  Security Symposium (San Diego, CA), Mar. 2, 2010 [moderator: Michael Bailey].



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Advising and Mentoring
Graduate Students
 –   Allison McDonald (Ph.D. in progress)
 –   Matthew Bernhard (Ph.D. in progress)
 –   Benjamin VanderSloot (Ph.D. in progress)
 –   David Adrian (Ph.D. in progress)
 –   Andrew Springall (Ph.D. 2018; went on to software engineering position at Google)
 –   Rose Howell (M.S. 2018)
 –   Zakir Durumeric (Ph.D. 2017; Google Ph.D. Fellowship in Computer Security; accepted tenure-
     track faculty position at Stanford)
 –   Travis Finkenauer (M.S. 2016; went on to security position at Juniper Networks)
 –   Eric Wustrow (Ph.D. 2016; accepted tenure-track faculty position at U. Colorado, Boulder)
 –   James Kasten (Ph.D. 2015; went on to software engineering position at Google)
 –   Scott Wolchok (M.S. 2011; went on to software engineering position at Facebook)

Post Docs
 – Will Scott (2017–18)
 – Colleen Swanson (2014–15)
Doctoral Committees
 –   Denis Bueno (C.S. Ph.D. expected 2018, Michigan) «««< HEAD
 –   Andrew Springall (C.S. Ph.D. 2018, Michigan; chair) =======
 –   Kyong Tak Cho (C.S. Ph.D. 2018, Michigan)
 –   Andrew Springall (C.S. Ph.D. 2018, Michigan; chair)
 –   Armin Sarabi (E.E. Ph.D. 2018, Michigan) »»»> cafe174a0ef54b0c9772a62bcca30a9a006dba03
 –   Zakir Durumeric (C.S. Ph.D. 2017, Michigan; chair)
 –   Armin Sarabi (E.E. Ph.D. 2017, Michigan)
 –   Eric Crockett (C.S. Ph.D 2017, Georgia Tech)
 –   Kassem Fawaz (C.S. Ph.D. 2017, Michigan)
 –   Amir Rahmati (C.S. Ph.D. 2017, Michigan)
 –   Earlence Fernandez (C.S. Ph.D. 2017, Michigan)
 –   Huan Feng (C.S. Ph.D. 2016, Michigan)
 –   Jakub Czyz (C.S. Ph.D. 2016, Michigan)
 –   Eric Wustrow (C.S. Ph.D. 2016, Michigan; chair)
 –   James Kasten (C.S. Ph.D. 2015, Michigan; chair)
 –   Jing Zhang (C.S. Ph.D. 2015, Michigan)
 –   Katharine Cheng (C.S. Ph.D. 2012, Michigan)
 –   Matt Knysz (C.S. Ph.D. 2012, Michigan)
 –   Zhiyun Qian (C.S. Ph.D. 2012, Michigan)

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 – Xin Hu (C.S. Ph.D. 2011, Michigan)
 – Ellick Chan (C.S. Ph.D. 2011, UIUC)
Undergraduate Independent Work
 – 2017: Gabrielle Beck, Alex Holland
 – 2016: Ben Burgess, Noah Duchan, Mayank Patke
 – 2015: Ben Burgess, Rose Howell, Vikas Kumar, Ariana Mirian, Zhi Qian Seah
 – 2014: Christopher Jeakle, Andrew Modell, Kollin Purcell
 – 2013: David Adrian, Anthony Bonkoski, Alex Migicovsky, Andrew Modell, Jennifer O’Neil
 – 2011: Yilun Cui, Alexander Motalleb
 – 2010: Arun Ganesan, Neha Gupta, Kenneth Meagher, Jay Novak, Dhritiman Sagar,
         Samantha Schumacher, Jonathan Stribley
 – 2009: Mark Griffin, Randy Yao

Teaching
 – Introduction to Computer Security, EECS 388, University of Michigan
   Terms: Winter 2017, Fall 2016, Fall 2015, Fall 2014, Fall 2013, Fall 2011, Fall 2010, Fall 2009
     Created new undergrad security elective that has grown to reach >750 students/year. An accessible intro,
     teaches the security mindset and practical skills for building and analyzing security-critical systems.
 – Computer and Network Security, EECS 588, University of Michigan
   Terms: Winter 2016, Winter 2015, Winter 2014, Winter 2013, Winter 2012, Winter 2011,
   Winter 2010, Winter 2009
     Redesigned core grad-level security course. Based around discussing classic and current research papers
     and performing novel independent work. Provides an intro. to systems research for many students.
 – Securing Digital Democracy, Coursera (MOOC)
     Designed and taught a massive, open online course that explored the security risks—and future
     potential—of electronic voting and Internet voting technologies; over 20,000 enrolled students.


Professional Service
Program Committees
 –   2017 ACM Conference on Computer and Communications Security (CCS ’17)
 –   2017 ISOC Network and Distributed Systems Security Symposium (NDSS ’17)
 –   2016 ACM Internet Measurement Conference (IMC ’16)
 –   2016 USENIX Security Symposium (Sec ’16)
 –   2016 International Joint Conference on Electronic Voting (E-VOTE-ID ’16)
 –   2016 Workshop on Advances in Secure Electronic Voting (Voting ’16)
 –   2015 ACM Conference on Computer and Communications Security (CCS ’15)
 –   2015 ACM Internet Measurement Conference (IMC ’15)
 –   2015 USENIX Security Symposium (Sec ’15)

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 – 2014 ACM Conference on Computer and Communications Security (CCS ’14)
 – 2014 USENIX Security Symposium (Sec ’14)
 – 2013 ACM Conference on Computer and Communications Security (CCS ’13)
 – Program co-chair, 2012 Electronic Voting Technology Workshop/Workshop on Trustworthy
   Elections (EVT/WOTE ’12)
 – 2012 Workshop on Free and Open Communications on the Internet (FOCI ’12)
 – 2012 IEEE Symposium on Security and Privacy (“Oakland” ’12)
 – 2012 International Conference on Financial Cryptography and Data Security (FC ’12)
 – 2011 Workshop on Free and Open Communications on the Internet (FOCI ’11)
 – 2011 Electronic Voting Technology Workshop (EVT/WOTE ’11)
 – 2010 ACM Conference on Computer and Communications Security (CCS ’10)
 – 2010 USENIX/ACCURATE/IAVOSS Electronic Voting Technology Workshop (EVT ’10)
 – 2010 USENIX Security Symposium (Sec ’10)
 – 2010 IEEE Symposium on Security and Privacy (Oakland ’10)
 – 2010 International World Wide Web Conference (WWW ’10)
 – 2009 ACM Conference on Computer and Communications Security (CCS ’09)
 – 2009 ACM Workshop on Digital Rights Management (DRM ’09)
 – 2009 ACM Workshop on Multimedia Security (MMS ’09)
 – 2009 USENIX Workshop on Offensive Technologies (WOOT ’09)
 – 2009 International World Wide Web Conference (WWW ’09)
 – 2008 ACM Conference on Computer and Communications Security (CCS ’08)
 – 2008 ACM Workshop on Privacy in the Electronic Society (WPES ’08)
 – 2008 USENIX/ACCURATE Electronic Voting Technology Workshop (EVT ’08)
 – 2008 International World Wide Web Conference (WWW ’08)

Boards
 – Board of Directors for the Internet Security Research Group (2014–present)
 – Board of Advisors for the Verified Voting Foundation (2012–present)
 – External Advisory Board for the DemTech Project, IT University of Copenhagen (2011–present)
 – Advisory Council for the Princeton University Department of Computer Science (2012–2014)

Department and University Service
 – Faculty Advisor for Michigan Hackers student group (2012–present)
 – CSE Graduate Affairs Committee (member, 2014–2017)
 – CSE Undergraduate Program Advising (CS/ENG) (2011–2017)
 – Faculty Senate, Rules Committee of the Senate Assembly (member, 2011–12)
 – CSE Graduate Admissions Committee (member, 2010–11)
 – CSE Graduate Committee (member, 2009–10)


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    HR’ WHAT W KNOW AOUT RUIA AND TH DNC
    HACK




        GTTY IMAG




    A TH DMOCRATIC                 Ňǻțįǿňǻŀ Čǿňvěňțįǿň čǿňțįňųěș įțș ẅěěķ-ŀǿňģ șțǻỳ įň
    Pħįŀǻđěŀpħįǻ, ǻččųșǻțįǿňș ǿf Řųșșįǻň ħǻčķįňģ čǿňțįňųě țǿ čŀǿųđ țħě přǿčěěđįňģș. Ǻț
    țħįș pǿįňț, įț șěěmș ŀįķěŀỳ țħǻț Řųșșįǻ įș řěșpǿňșįbŀě. Ẅħǻț’ș ŀěșș čŀěǻř įș ẅħǻț țħǻț ẅįŀŀ
    měǻň ģǿįňģ fǿřẅǻřđ.

    İț’ș běěň ǻ bǻđ șțřěțčħ fǿř țħě Đěmǿčřǻțįč Ňǻțįǿňǻŀ Čǿmmįțțěě. Ħǻčķěřș břǿķě įňțǿ įțș
    șěřvěřș mǿňțħș ǻģǿ, șțěǻŀįňģ přįvǻțě ěmǻįŀș, ǿppǿșįțįǿň řěșěǻřčħ, ǻňđ čǻmpǻįģň
    čǿřřěșpǿňđěňčě. Ŀǻșț Fřįđǻỳ, Ẅįķįŀěǻķș mǻđě ňěǻřŀỳ 20,000 ǿf țħǿșě přįvǻțě ěmǻįŀș
    pųbŀįč, řěvěǻŀįňģ ěmbǻřřǻșșįňģ đěțǻįŀș ǿf țħě pǿŀįțįčǻŀ mǻčħįňě’ș įňňěř ẅǿřķįňģș. ĐŇČ
    ǿffįčįǻŀ ǻŀŀěģě țħǻț țħě Řųșșįǻň ģǿvěřňměňț įș běħįňđ țħě břěǻčħ. Țħě Ňěẅ Ỳǿřķ Țįměș
    řěpǿřțș țħǻț ŲȘ įňțěŀŀįģěňčě ǻģěňčįěș įňčřěǻșįňģŀỳ șħǻřě țħǻț ǿpįňįǿň. Ǻččǿřđįňģ țǿ ǻ
    ňųmběř ǿf țǿp čỳběřșěčųřįțỳ řěșěǻřčħěřș, țħěỳ’řě přǿbǻbŀỳ řįģħț.



    A rief Hitor of a Hack

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    Ňěẅș ǿf țħě ħǻčķ ǿf țħě Đěmǿčřǻțįč Ňǻțįǿňǻŀ Čǿmmįțțěě fįřșț břǿķě įň mįđ-Jųňě.
    Țħǻț’ș ẅħěň Čřǿẅđșțřįķě, ǻ fįřm țħǻț ǻňǻŀỳżěș țħřěǻțș țǿ ňěțẅǿřķ șěčųřįțỳ, řěvěǻŀěđ
    țħǻț țħě ĐŇČ ħǻđ čǻŀŀěđ įț įň țǿ įňșpěčț țħě pǻřțỳ’ș șěřvěřș, ẅħěřě įț fǿųňđ “țẅǿ
    șěpǻřǻțě Řųșșįǻň įňțěŀŀįģěňčě-ǻffįŀįǻțěđ ǻđvěřșǻřįěș přěșěňț įň țħě ĐŇČ ňěțẅǿřķ.”
    Čřǿẅđșțřįķě řěŀěǻșěđ ǻ čǿmpřěħěňșįvě řěpǿřț ǿf įțș fįňđįňģș ǿň Jųňě 14, ẅħįčħ
    ǻččǿmpǻňįěđ ǻ Ẅǻșħįňģțǿň Pǿșț ǻřțįčŀě đěțǻįŀįňģ țħě ǻțțǻčķș. Ǿňě ǿf țħě ħǻčķįňģ
    ģřǿųpș, Čřǿẅđșțřįķě fǿųňđ, ħǻđ ǻččěșș țǿ țħě ĐŇČ șěřvěřș fǿř ǻŀmǿșț ǻ ỳěǻř.

    Ǻ đǻỳ ǻfțěř țħǻț řěpǿřț, șǿměǿňě čǻŀŀįňģ țħěmșěŀvěș Ģųččįfěř 2.0 (ǻň ǻŀŀųșįǿň țǿ
    ňǿțǿřįǿųș ħǻčķěř Ģųččįfěř) čŀǻįměđ řěșpǿňșįbįŀįțỳ fǿř țħě ħǻčķ įň ǻ bŀǿģ pǿșț. Țħřǿųģħ
    țħě bŀǿģ ǻňđ ǻň ǻččǿmpǻňỳįňģ Țẅįțțěř ǻččǿųňț, Ģųččįfěř 2.0 řěfųțěđ Čřǿẅđșțřįķě’ș
    čŀǻįmș țħǻț țħįș ẅǻș ǻ Řųșșįǻň ǿpěřǻțįǿň, įňșțěǻđ čǻŀŀįňģ ħįmșěŀf ǻ “ŀǿňě ħǻčķěř.” Ħě
    ǻŀșǿ čŀǻįměđ țǿ ħǻvě ħǻňđěđ mųčħ ǿf țħě ĐŇČ bǿųňțỳ țǿ Ẅįķįŀěǻķș.

    Țħě fǿŀŀǿẅįňģ ẅěěķ, țẅǿ čỳběřșěčųřįțỳ fįřmș, Fįđěŀįș Čỳběřșěčųřįțỳ ǻňđ Mǻňđįǻňț,
    įňđěpěňđěňțŀỳ čǿřřǿbǿřǻțěđ Čřǿẅđșțřįķě’ș ǻșșěșșměňț țħǻț Řųșșįǻň ħǻčķěřș
    įňfįŀțřǻțěđ ĐŇČ ňěțẅǿřķș, ħǻvįňģ fǿųňđ țħǻț țħě țẅǿ ģřǿųpș țħǻț ħǻčķěđ įňțǿ țħě ĐŇČ
    ųșěđ mǻŀẅǻřě ǻňđ měțħǿđș įđěňțįčǻŀ țǿ țħǿșě ųșěđ įň ǿțħěř ǻțțǻčķș ǻțțřįbųțěđ țǿ țħě
    șǻmě Řųșșįǻň ħǻčķįňģ ģřǿųpș.

    Bųț șǿmě ǿf țħě mǿșț čǿmpěŀŀįňģ ěvįđěňčě ŀįňķįňģ țħě ĐŇČ břěǻčħ țǿ Řųșșįǻ ẅǻș
    fǿųňđ ǻț țħě běģįňňįňģ ǿf Jųŀỳ bỳ Țħǿmǻș Řįđ, ǻ přǿfěșșǿř ǻț Ķįňģ’ș Čǿŀŀěģě įň
    Ŀǿňđǿň, ẅħǿ đįșčǿvěřěđ ǻň įđěňțįčǻŀ čǿmmǻňđ-ǻňđ-čǿňțřǿŀ ǻđđřěșș ħǻřđčǿđěđ įňțǿ
    țħě ĐŇČ mǻŀẅǻřě țħǻț ẅǻș ǻŀșǿ fǿųňđ ǿň mǻŀẅǻřě ųșěđ țǿ ħǻčķ țħě Ģěřmǻň
    Pǻřŀįǻměňț įň 2015. Ǻččǿřđįňģ țǿ Ģěřmǻň șěčųřįțỳ ǿffįčįǻŀș, țħě mǻŀẅǻřě ǿřįģįňǻțěđ
    fřǿm Řųșșįǻň mįŀįțǻřỳ įňțěŀŀįģěňčě. Ǻň įđěňțįčǻŀ ȘȘĿ čěřțįfįčǻțě ẅǻș ǻŀșǿ fǿųňđ įň bǿțħ
    břěǻčħěș.

    Țħě ěvįđěňčě mǿųňțș fřǿm țħěřě. Țřǻčěș ǿf měțǻđǻțǻ įň țħě đǿčųměňț đųmp řěvěǻŀ
    vǻřįǿųș įňđįčǻțįǿňș țħǻț țħěỳ ẅěřě țřǻňșŀǻțěđ įňțǿ Čỳřįŀŀįč. Fųřțħěřmǿřě, ẅħįŀě
    Ģųččįfěř 2.0 čŀǻįměđ țǿ bě fřǿm Řǿmǻňįǻ, ħě ẅǻș ųňǻbŀě țǿ čħǻț ẅįțħ Mǿțħěřbǿǻřđ
    jǿųřňǻŀįșțș įň čǿħěřěňț Řǿmǻňįǻň. Běșįđěș ẅħįčħ, țħįș șǿřț ǿf ħǻčķįňģ ẅǿųŀđň’ț
    ěxǻčțŀỳ bě ǿųțșįđě ǿf Řųșșįǻň ňǿřmș.

    “İț đǿěșň’ț șțřǻįň čřěđųŀįțỳ țǿ ŀǿǿķ țǿ țħě Řųșșįǻňș,” șǻỳș Mǿřģǻň Mǻřqųįș-Bǿįřě, ǻ
    mǻŀẅǻřě ěxpěřț ẅįțħ ČįțįżěňĿǻb. “Țħįș įș ňǿț țħě fįřșț țįmě țħǻț Řųșșįǻň ħǻčķěřș ħǻș
    běěň běħįňđ įňțřųșįǿňș įň ŲȘ ģǿvěřňměňț, ǻňđ įț șěěmș ųňŀįķěŀỳ țħǻț įț ẅįŀŀ bě țħě
    ŀǻșț.” Ŀǻșț ỳěǻř Řųșșįǻň ħǻčķěřș ẅěřě ǻbŀě țǿ břěǻčħ Ẅħįțě Ħǿųșě ǻňđ Șțǻțě



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    Đěpǻřțměňț ěmǻįŀ șěřvěřș, ģŀěǻňįňģ įňfǿřmǻțįǿň ěvěň fřǿm Přěșįđěňț Ǿbǻmǻ’ș
    Bŀǻčķběřřỳ.

    Měǻňẅħįŀě, țħě Ķřěmŀįň ħǻș đěňįěđ Řųșșįǻň įňvǿŀvěměňț įň țħě ĐŇČ břěǻčħ. Bųț țħě
    řěvěřběřǻțįǿňș čǿňțįňųě; ĐŇČ Čħǻįřẅǿmǻň Đěbbįě Ẅǻșșěřmǻň Șčħųŀțż ẅįŀŀ řěșįģň ǻț
    țħě ěňđ ǿf țħě ẅěěķ, ǻfțěř ěmǻįŀș řěvěǻŀěđ ẅħǻț mǻňỳ vįěẅ ǻș țħě ųňfǻįř țřěǻțměňț ǿf
    Běřňįě Șǻňđěřș.



    From Ruia With Love
    Ǻș čǿmpěŀŀįňģ ǻș țħě ěvįđěňčě įș, țħěřě’ș șțįŀŀ ǻ șmǻŀŀ ǻmǿųňț ǿf řǿǿm țǿ ǻřģųě țħǻț
    Ģųččįfěř 2.0 ẅǻș ǻ ŀǿňě ǻčțǿř, ǻň įňđįvįđųǻŀ mǿțįvǻțěđ bỳ ħǻčķțįvįșț įđěǻŀș ǿf
    đįșmǻňțŀįňģ șțǻțě pǿẅěř. Ħě ẅǿųŀđň’ț bě țħě fįřșț. Ǻňđ įň ǻ řěčěňț įňțěřvįěẅ ǿň ŇBČ,
    Jųŀįǻň Ǻșșǻňģě ǿf Ẅįķįŀěǻķș ģǻvě ǻ șǿfț đįșǻvǿẅǻŀ ǿf čŀǻįmș țħǻț ħįș ẅħįșțŀěbŀǿẅįňģ
    ǿřģǻňįżǻțįǿň įș įň čǻħǿǿțș ẅįțħ Řųșșįǻň įňțěŀŀįģěňčě, “Ẅěŀŀ, țħěřě įș ňǿ přǿǿf ǿf țħǻț
    ẅħǻțșǿěvěř,” ħě șǻįđ. “Ẅě ħǻvě ňǿț đįșčŀǿșěđ ǿųř șǿųřčě, ǻňđ ǿf čǿųřșě, țħįș įș ǻ
    đįvěřșįǿň țħǻț’ș běįňģ pųșħěđ bỳ țħě Ħįŀŀǻřỳ Čŀįňțǿň čǻmpǻįģň.”

    Țħįș įș, ǿf čǿųřșě, țħě șǻmě Ǻșșǻňģě ẅħǿ bǿǻșțș řěșpǿňșįbįŀįțỳ fǿř ħěŀpįňģ fįňđ
    Șňǿẅđěň ǻ ħǿmě įň Řųșșįǻ ǻňđ Ẅįķįŀěǻķș pųbŀįčŀỳ čřįțįčįżěđ țħě Pǻňǻmǻ Pǻpěřș fǿř
    įmpŀįčǻțįňģ Pųțįň įň fįňǻňčįǻŀ mįșđěěđș. Ħě’ș ǻŀșǿ ǻň ǿųțșpǿķěň fřěqųěňț čřįțįč ǿf
    Ħįŀŀǻřỳ Čŀįňțǿň’ș țįmě ǻț țħě Șțǻțě Đěpǻřțměňț. Ǻ đǻmňįňģ đǿčųměňț đųmp țħě
    ẅěěķěňđ běfǿřě Čŀįňțǿň’ș ňǿmįňǻțįǿň ǻřģųǻbŀỳ ǻŀįģňș ẅįțħ bǿțħ Řųșșįǻň įňțěřěșțș ǻňđ
    ħįș ǿẅň.

    İf țħě ǻŀŀěģǻțįǿňș đǿ přǿvě čǿřřěčț, țħįș įș ǻň ųňpřěčěđěňțěđ șțěp fǿř Řųșșįǻ. Ħǻčķįňģ
    įș ňǿțħįňģ ňěẅ, bųț pųbŀįčįżįňģ đǿčųměňțș țǿ ǻțțěmpț țǿ șẅǻỳ ǻň ěŀěčțįǿň čěřțǻįňŀỳ įș.
    Pųțįň ẅǿųŀđ čŀěǻřŀỳ přěfěř ǻ Țřųmp přěșįđěňčỳ. Țħě bįŀŀįǿňǻįřě Řěpųbŀįčǻň čǻňđįđǻțě
    įș ǻ ŀǿňģțįmě ǻđmįřěř ǿf Pųțįň’ș, ǻňđ ħǻș pųbŀįčŀỳ șțǻțěđ țħǻț ħě ẅǿųŀđň’ț ňěčěșșǻřįŀỳ
    đěfěňđ ŇǺȚǾ ǻŀŀįěș ǻģǻįňșț ǻ Řųșșįǻň įňvǻșįǿň. Țǿ țǿp įț ǻŀŀ ǿff, Țřųmp’ș čǻmpǻįģň
    mǻňǻģěř, Pǻųŀ Mǻňǻfǿřț, fǿřměřŀỳ ẅǿřķěđ ǻș ǻň ǻđvįșǿř țǿ Vįķțǿř Ỳǻňųķǿvỳčħ, țħě
    Řųșșįǻň-bǻčķěđ Přěșįđěňț ǿf Ųķřǻįňě běfǿřě ħě ẅǻș ǿųșțěđ įň 2014.

    “Đųě țǿ țħě ňǻțųřě ǻňđ țįmįňģ ǿf țħįș ħǻčķ, įț ǻŀŀ șěěmș věřỳ pǿŀįțįčǻŀ,” șǻỳș Mǻřqųįș-
    Bǿįřě.

    Ǻňđ țħěřě’ș ǻ ẅħǿŀě ŀǿț ǿf ěŀěčțįǿň ŀěfț—ǻňđ ŀįķěŀỳ mǿřě ŀěǻķș țǿ čǿmě ẅįțħ įț. Ǿň
    Șųňđǻỳ, ǻ Țẅįțțěř ųșěř ǻșķěđ Ẅįķįŀěǻķș įf mǿřě ĐŇČ ŀěǻķș ẅěřě ǿň țħěįř ẅǻỳ. Țħě
    řěpŀỳ: “Ẅě ħǻvě mǿřě čǿmįňģ.”

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    Update: İň ǻ přěșș čǿňfěřěňčě Ẅěđňěșđǻỳ, Řěpųbŀįčǻň přěșįđěňțįǻŀ čǻňđįđǻțě Đǿňǻŀđ
    Țřųmp įňvįțěđ Řųșșįǻ țǿ řěțřįěvě “mįșșįňģ” ěmǻįŀș fřǿm Ħįŀŀǻřỳ Čŀįňțǿň’ș čǻmpǻįģň
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    ǻňđ “pǿșșįbŀỳ įŀŀěģǻŀ.”




https://www.wired.com/2016/07/heres­know­russia­dnc­hack/                                                    4/7
                                                 Here’s What We Know About Russia and the DNC Hack | WIRED
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https://www.wired.com/2016/07/heres­know­russia­dnc­hack/                                                    5/7
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           EXHIBIT C
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             Private Security Group Says Russia
             Was Behind John Podesta’s Email
             Hack
             By NICOLE PERLROTH and MICHAEL D. SHEAR                                     OCT. 20, 2016

             SAN FRANCISCO — At the start of 2014, President Obama assigned his trusted
             counselor, John D. Podesta, to lead a review of the digital revolution, its potential
             and its perils. When Mr. Podesta presented his findings five months later, he called
             the internet’s onslaught of big data “a historic driver of progress.” But two short
             years later, as chairman of Hillary Clinton’s presidential campaign, Mr. Podesta
             would also become one of the internet’s most notable victims.

                   On Thursday, private security researchers said they had concluded that Mr.
             Podesta was hacked by Russia’s foreign intelligence service, the GRU, after it tricked
             him into clicking on a fake Google login page last March, inadvertently handing over
             his digital credentials.

                   For months, the hackers mined Mr. Podesta’s inbox for his most sensitive and
             potentially embarrassing correspondence, much of which has been posted on the
             WikiLeaks website. Additions to the collection on Thursday included three short




http://www.nytimes.com/2016/10/21/us/private­security­group­says­russia­was­behind­john­podestas­email­hack.html             1/4
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             email exchanges between Mr. Podesta and Mr. Obama himself in the days leading up
             to his election in 2008.

                   Mr. Podesta’s emails were first published by WikiLeaks earlier this month. The
             release came just days after James R. Clapper Jr., the director of national
             intelligence, and the Department of Homeland Security publicly blamed Russian
             officials for cyberattacks on the Democratic National Committee, in what they
             described as an effort to influence the American presidential election.

                   To date, no government officials have offered evidence that the same Russian
             hackers behind the D.N.C. cyberattacks were also behind the hack of Mr. Podesta’s
             emails, but an investigation by the private security researchers determined that they
             were the same.

                   Threat researchers at Dell SecureWorks, an Atlanta­based security firm, had
             been tracking the Russian intelligence group for more than a year. In June, they
             reported that they had uncovered a critical tool in the Russian spy campaign.
             SecureWorks researchers found that the Russian hackers were using a popular link
             shortening service, called Bitly, to shorten malicious links they used to send targets
             fake Google login pages to bait them into submitting their email credentials.

                   The hackers made a critical error by leaving some of their Bitly accounts public,
             making it possible for SecureWorks to trace 9,000 of their links to nearly 4,000
             Gmail accounts targeted between October 2015 and May 2016 with fake Google login
             pages and security alerts designed to trick users into turning over their passwords.

                   Among the list of targets were more than 100 email addresses associated with
             Hillary Clinton’s presidential campaign, including Mr. Podesta’s. By June, 20 staff
             members for the campaign had clicked on the short links sent by Russian spies. In
             June, SecureWorks disclosed that among those whose email accounts had been
             targeted were staff members who advised Mrs. Clinton on policy and managed her
             travel, communications and campaign finances.

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                   Two security researchers who have been tracking the GRU’s spearphishing
             campaign confirmed Thursday that Mr. Podesta was among those who had
             inadvertently turned over his Google email password. The fact that Mr. Podesta was
             among those breached by the GRU was first disclosed Thursday by Esquire and the
             Motherboard blog, which published the link Russian spies used against Mr. Podesta.

                   “The new public data confirming the Russians are behind the hack of John
             Podesta’s email is a big deal,” Jake Sullivan, Mrs. Clinton’s senior policy adviser, said
             Thursday. “There is no longer any doubt that Putin is trying to help Donald Trump
             by weaponizing WikiLeaks.”

                   The new release of Mr. Podesta’s email exchange with Mr. Obama from 2008
             made clear that Mr. Obama’s team was confident he would win.

                   In one of the emails, Mr. Podesta wrote Mr. Obama a lengthy memo in the
             evening on Election Day recommending that he not accept an invitation from
             President George W. Bush to attend an emergency meeting of the Group of 20
             leaders.

                   “Attendance alongside President Bush will create an extremely awkward
             situation,” the memo said. “If you attempt to dissociate yourself from his positions,
             you will be subject to criticism for projecting a divided United States to the rest of
             the world. But if you adopt a more reserved posture, you will be associated not only
             with his policies, but also with his very tenuous global standing.”

                   The White House did not respond to questions about the email.

             Correction: October 22, 2016
             An article on Friday about suspected email hacking by Russia’s foreign intelligence
             service misstated the name of one organization that first disclosed that a presidential
             counselor, John D. Podesta, was among those whose accounts were breached. The blog
             is Motherboard, not VICE Motherload.
             Nicole Perlroth reported from San Francisco, and Michael D. Shear from Washington.

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             Twitter, and sign up for the First Draft politics newsletter.




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             A version of this article appears in print on October 21, 2016, on page A14 of the New York edition with
             the headline: Private Security Group Says Russia Was Behind Hack of Clinton Campaign Chairman.




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           EXHIBIT D
                                       Russians Hacked Two U.S. Voter Databases, Officials Say ­ NBC News
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                               SECTIONS                                                                                                             


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                                          NEWS AUG 30 2016, 4:54 AM ET

                                          Russians Hacked Two U.S. Voter
                                          Databases, Oﬃcials Say
                                          by ROBERT WINDREM, WILLIAM M. ARKIN and KEN DILANIAN

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                                          Hackers based in Russia were behind two recent attempts to breach state voter
                                          registration databases, fueling concerns the Russian government may be trying
                                          to interfere in the U.S. presidential election, U.S. intelligence oﬃcials tell NBC
                                          News.

                                          The breaches included the theft of data from as many as 200,000 voter records
                                          in Illinois, oﬃcials say.

                                          The incidents led the FBI to send a "ﬂash alert" earlier this month to election
                                          oﬃcials nationwide, asking them to be on the lookout for any similar cyber
                                          intrusions.

                                          One oﬃcial tells NBC News that the attacks have been attributed to Russian
                                          intelligence agencies.

                                          "This is the closest we've come to tying a recent hack to the Russian
                                          government," the oﬃcial said.

                                          That person added that "there is serious concern" that the Kremlin may be
                                          seeking to sow uncertainty in the U.S. presidential election process.




                                          Voters cast their ballots at ChiArts High School on March 15 in Chicago, Illinois.  Scott Olson / Getty
                                          Images


                                          Two other oﬃcials said that U.S. intelligence agencies have not yet concluded
                                          that the Russian government is trying to do that, but they are worried about it.




http://www.nbcnews.com/news/us­news/russians­hacked­two­u­s­voter­databases­say­officials­n639551                                                    1/4
                                     Russians Hacked Two U.S. Voter Databases, Officials Say ­ NBC News
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                                    They said the Russians have long conducted cyber espionage on political
                                    targets. The question now is whether they are moving into a covert intelligence
                                    operation designed to destabilize the U.S. political process.

                                    The alert, ﬁrst reported by Yahoo News, provided IP addresses associated with
                                    the hack attempts, though it did not mention Russia.

                                    One of the IP addresses was involved in both breaches, the FBI alert said.

                                    "The FBI is requesting that states contact their Board of Elections and
                                    determine if any similar activity to their logs, both inbound and outbound, has
                                    been detected," the alert said.

                                    The bulletin does not identify the targeted states, but oﬃcials told NBC News
                                    they were Illinois and Arizona. Illinois oﬃcials said in July that they shut down
                                    their state's voter registration after a hack. State oﬃcials said Monday the
                                    hackers downloaded information on as many 200,000 people.

                                    State oﬃcials told the Chicago Tribune they were conﬁdent no voter record had
                                    been deleted or altered.

                                    In Arizona, oﬃcials said, hackers tried to get in using malicious software but
                                    were unsuccessful. The state took its online voter registration down for nine
                                    days, beginning in late June, after malware was discovered on a county election
                                    oﬃcial's computer. But the state concluded that the system was not successfully
                                    breached.

                                    Those incidents led Homeland Security Secretary Jeh Johnson to host a call
                                    earlier this month with state election oﬃcials to talk about cybersecurity and
                                    election infrastructure.

                                    Johnson said DHS isn't aware of any speciﬁc cyber threat against election-
                                    related networks, but he urged oﬃcials to examine how to better secure their
                                    systems, according to a summary of the call put out by the department.

                                    U.S. intelligence oﬃcials have previously said Russian intelligence agencies
                                    were behind hacks into the Democratic National Committee and related
                                    organizations. There has been a long running debate among intelligence
                                    analysts about what Russia is up to.

                                    Voting systems have not been considered "critical infrastructure," by the
                                    Department of Homeland Security, so they are not subject to federal
                                    government protections.

                                    Independent assessments have found that many state and local voting system
                                    are extremely vulnerable to hacking.


                                          ROBERT WINDREM      


                                    WILLIAM M. ARKIN    


                                          KEN DILANIAN    

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                                                  Russians Hacked Two U.S. Voter Databases, Officials Say ­ NBC News
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            EXHIBIT E
                                        U.S. official: Hackers targeted voter registration systems of 20 states ­ Chicago Tribune
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U.S. official: Hackers targeted voter registration
systems of 20 states




In this June 5, 2015, file photo, the Homeland Security Department headquarters in northwest Washington. A Homeland Security
Department official says hackers have targeted the voter registration systems of more than 20 states in recent months. FBI Director James
Comey told lawmakers this week that the agency is looking "very, very hard" at Russian
                                                                               Russia hackers who may try to disrupt the U.S. election.
(Susan Walsh / AP)


By Tribune news services

SEPTEMBER 30, 2016, 4:42 PM         |   WASHINGTON




H            ackers have targeted the voter registration systems of more than 20 states in recent months, a
             Homeland Security Department official said Friday.

The disclosure comes amid heightened concerns that foreign hackers might undermine voter confidence in the
integrity of U.S. elections. Federal officials and many cybersecurity experts have said it would be nearly
impossible for hackers to alter an election's outcome because election systems are very decentralized and
generally not connected to the internet.

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http://www.chicagotribune.com/news/nationworld/ct­hackers­target­election­systems­20160930­story.html                                  1/3
                                        U.S. official: Hackers targeted voter registration systems of 20 states ­ Chicago Tribune
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The official who described detecting the hacker activity was not authorized to speak publicly on the subject and
spoke to The Associated Press on condition of anonymity. It was unclear, the official said, whether the hackers
were foreign or domestic, or what their motives might be. ABC News earlier reported that more than 20 states
were targeted.

The FBI last month warned state officials of the need to improve their election security after hackers targeted
systems in Illinois and Arizona. FBI Director James Comey told lawmakers this week that the agency is looking
"very, very hard" at Russian hackers who may try to disrupt the U.S. election.

Last month, Donald Trump, the GOP nominee for president, suggested that he feared the general election "is
going to be rigged."

The Homeland Security Department has stepped up its outreach to states and localities, but it is up to them to
ask for help. So far, 19 states have expressed interest in a general "cyber hygiene" scan of key websites — akin to
ensuring that windows in a home are properly closed, according to another Homeland Security official directly
involved in securing local elections who also was not authorized to speak publicly about ongoing efforts.

The FBI has detected a variety of "scanning activities" that are early indications of hacking, Comey told the
House Judiciary Committee this week.

The FBI held a conference call on Friday with the local officials who run elections in the battleground state of
Florida. Meredith Beatrice, a spokeswoman for Secretary of State Ken Detzner, called it an "informational call
related to elections security," but a person on the call who was not authorized to discuss it and requested
anonymity said authorities had seen evidence of someone probing a local elections website.

Homeland Security Secretary Jeh Johnson spoke to state election officials by phone last month, encouraging
them to implement existing technical recommendations to secure their election systems and ensure that
electronic voting machines are not connected to the internet.

DHS is offering states more comprehensive, on­site risk and vulnerability checks. Only four states have
expressed interest in the assessment, and because the election is only weeks away, the department will likely
only be able to conduct an assessment of one state before Election Day on Nov. 8, the official said.

Two of the hacking attempts involved efforts to mine data from the Arizona and Illinois voter registration
systems, according to Kay Stimson, a spokeswoman for the National Association of Secretaries of State. She
said in Arizona a hacker tried to probe voter registration data, but never infiltrated the system, while in Illinois
hackers got into the system, but didn't manipulate any data.

http://www.chicagotribune.com/news/nationworld/ct­hackers­target­election­systems­20160930­story.html                               2/3
11/24/2016                              U.S. official: Hackers targeted voter registration systems of 20 states ­ Chicago Tribune
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These systems have "nothing to do with vote casting or counting," Stimson said in an email. "While it is
theoretically possible to disrupt an election by infiltrating a voter registration system, their compromise would
not affect election results" and there are system controls in place to catch any fraud.

Rep. Henry Johnson, D­Ga., introduced two bills earlier this month that would require voting systems be
designated as critical infrastructure and limit purchases of new voting systems that don't provide paper ballots,
among other measures. It's unlikely the bills will be passed before the election.

The Homeland Security Department is already considering designating voting systems as critical infrastructure
in the future, though it is unlikely to happen before the election, the second official said.

A presidential directive released in 2013 details 16 sectors that are considered critical infrastructure, including
energy, financial services, healthcare, transportation, food and agriculture, and communications. The
designation places responsibilities on the Homeland Security secretary to identify and prioritize those sectors,
considering physical and cyber threats. The secretary is also required to conduct security checks and provide
information about emerging and imminent threats.

Associated Press

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This article is related to: Jeh Johnson, James Comey




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Senators call for declassification of files on Russia's role in US election | US news | The G... Page 1 of 3
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Senators call for declassification of files on
Russia's role in US election
Eight members of Senate intelligence committee hint that government may still hold secret
information ‘concerning the Russian government’




The eight senators did not directly accuse the Russian government or Donald Trump of wrongdoing. Photograph: Timothy A
Clary/AFP/Getty Images

Spencer Ackerman in New York
Thursday 1 December 2016 11.07 EST

All of the Democratic and Democratic-aligned members of the Senate intelligence
committee have hinted that significant information about Russian interference in the US
presidential election remains secret and ought to be declassified.

The eight senators, including the incoming ranking member Mark Warner of Virginia,
wrote to Barack Obama to request he declassify relevant intelligence on the election.
They did not directly accuse the Russian government or President-elect Donald Trump, a
Republican, of wrongdoing in the letter.




https://www.theguardian.com/us-news/2016/nov/30/senators-hint-russian-interference-us-p... 12/5/2016
Senators call for declassification of files on Russia's role in US election | US news | The G... Page 2 of 3
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“We believe there is additional information concerning the Russian government and the
US election that should be declassified and released to the public. We are conveying
specifics through classified channels,” wrote Warner and his colleagues Ron Wyden of
Oregon, Martin Heinrich of New Mexico, Mazie Hirono of Hawaii, Barbara Mikulski of
Maryland and independent Angus King of Maine.

Jack Reed of Rhode Island, an honorary and non-voting member of the committee due
to his seat as ranking member of the Senate armed services committee, also signed the
letter, which was dated Tuesday and publicly released on Wednesday. No Republican
joined the declassification call.

The outgoing ranking Democrat, Dianne Feinstein of California, signed the classified
version of the letter sent to Obama.

Neither the terse letter nor discussions with sources on Capitol Hill detailed the
particular intelligence concerning the Russians, its strength or its impact on the outcome
of the election. Thus far, no credible evidence of vote fraud or electoral malfeasance
exists, despite an evidence-free claim from Trump himself.

A spokesman for Wyden, Keith Chu, said the senator believed the intelligence needed to
be declassified “immediately”, as it was in the “national interest that the American
public should see it”.

It is understood this is the first declassification request by eight senators in at least
twelve years.

On 7 October, the US director of national intelligence and the secretary of homeland
security took the rare step of directly accusing Russia’s “senior-most” officials of
ordering the breach of the Democratic National Committee’s digital networks. Director
James Clapper and Secretary Jeh Johnson accused the Russians of attempting to
“interfere” in the US election, something the Obama administration had previously
suggested but did not allege publicly.

The FBI has acknowledged investigating such interference, but has reportedly not
established any link to Trump or his campaign. Two US officials have told the Guardian
that the FBI was reluctant to sign off on Clapper and Johnson’s public allegation.

Yet Harry Reid, the outgoing Democratic Senate leader, asserted without evidence in
October that the FBI director, James Comey, “possess[es] explosive information about
close ties and coordination between Donald Trump, his top advisers, and the Russian
government”.

Unusually for any presidential nominee, and particularly for a Republican, Trump has
exhibited a warmth toward the Russian president, Vladimir Putin, that has prompted a
widespread expectation Trump will tilt US foreign policy toward Russia. Trump and
Putin spoke soon after Trump’s electoral victory in a phone call heralded by the Kremlin.




https://www.theguardian.com/us-news/2016/nov/30/senators-hint-russian-interference-us-p... 12/5/2016
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There was no immediate comment from the White House or Clapper’s office as to
whether Obama would order the declassification or whether the intelligence agencies
even support such a move.

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           EXHIBIT G
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                            Joint Statement from
                            the Department Of
                            Homeland Security and
                            Office of the Director of
                            National Intelligence on
                            Election Security
                            Release Date: October 7, 2016




                            For Immediate Release
                            DHS Press Office
                            Contact: 202­282­8010

                            The U.S. Intelligence Community (USIC) is confident that the
                            Russian Government directed the recent compromises of e­
                            mails from US persons and institutions, including from US
                            political organizations. The recent disclosures of alleged
                            hacked e­mails on sites like DCLeaks.com and WikiLeaks
                            and by the Guccifer 2.0 online persona are consistent with
                            the methods and motivations of Russian­directed efforts.

https://www.dhs.gov/news/2016/10/07/joint­statement­department­homeland­security­and­office­director­national                                         1/3
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                            These thefts and disclosures are intended to interfere with the
                            US election process. Such activity is not new to Moscow—the
                            Russians have used similar tactics and techniques across
                            Europe and Eurasia, for example, to influence public opinion
                            there. We believe, based on the scope and sensitivity of
                            these efforts, that only Russia's senior­most officials could
                            have authorized these activities.

                            Some states have also recently seen scanning and probing of
                            their election­related systems, which in most cases originated
                            from servers operated by a Russian company. However, we
                            are not now in a position to attribute this activity to the
                            Russian Government. The USIC and the Department of
                            Homeland Security (DHS) assess that it would be extremely
                            difficult for someone, including a nation­state actor, to alter
                            actual ballot counts or election results by cyber attack or
                            intrusion. This assessment is based on the decentralized
                            nature of our election system in this country and the number
                            of protections state and local election officials have in place.
                            States ensure that voting machines are not connected to the
                            Internet, and there are numerous checks and balances as
                            well as extensive oversight at multiple levels built into our
                            election process.

                            Nevertheless, DHS continues to urge state and local election
                            officials to be vigilant and seek cybersecurity assistance from
                            DHS. A number of states have already done so. DHS is
                            providing several services to state and local election officials
                            to assist in their cybersecurity. These services include cyber
                            “hygiene” scans of Internet­facing systems, risk and
                            vulnerability assessments, information sharing about cyber
                            incidents, and best practices for securing voter registration
                            databases and addressing potential cyber threats. DHS has
                            convened an Election Infrastructure Cybersecurity Working
                            Group with experts across all levels of government to raise
                            awareness of cybersecurity risks potentially affecting election
                            infrastructure and the elections process. Secretary Johnson
                            and DHS officials are working directly with the National
                            Association of Secretaries of State to offer assistance, share

https://www.dhs.gov/news/2016/10/07/joint­statement­department­homeland­security­and­office­director­national                                    2/3
11/24/2016 Joint Statement from the Department Of Homeland Security and Office of the Director of National Intelligence on Election Security | Homeland …
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                            information, and provide additional resources to state and
                            local officials.

                                                                        ###


                            Last Published Date: October 7, 2016




https://www.dhs.gov/news/2016/10/07/joint­statement­department­homeland­security­and­office­director­national                                         3/3
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                      Ukraine election narrowly avoided
                      'wanton destruction' from hackers
                      (+video)
                      A brazen three-pronged cyber-attack against last month's Ukrainian presidential
                      elections has set the world on notice – and bears Russian 韈�ngerprints, some say.

                      By Mark Clayton, Sta音� writer     JUNE 17, 2014                                    Save for later



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                         David Mdzinarishvili/Reuters | View Caption
                                                                                                                                    Why Hillary Clinton
                                                                                                                                5   lost the white
                                                                                                                                    women's vote
                      A three­pronged wave of cyber­attacks aimed at wrecking Ukraine’s

                      presidential vote – including an attempt to fake computer vote totals – was
                      narrowly defeated by government cyber experts, Ukrainian officials say.
                                                                                                                             Follow Passcode

                      The still little­known hacks, which surfaced May 22­26, appear to be among                             Passcode covers security and privacy in the digital
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                      the most dangerous cyber­attacks yet deployed to sabotage a national                                   news, columnists, and upcoming events.Read more
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                      election – and a warning shot for future elections in the US and abroad,

                      political scientists and cyber experts say.                                                               E-mail address                        SIGN-UP



                      National elections in the Netherlands, Norway, and other nations have seen                                        Michael B. Farrell
                      hackers probe Internet­tied election systems, but never with such                                                 Passcode Editor | Michael is an editor
                                                                                                                                        and writer based in Boston.
                      destructive abandon, said experts monitoring the Ukraine vote.
                                                                                                                                        Sara Sorcher
                                                                                                                                        Passcode Deputy Editor | Sara covers
                        Recommended: How much do you know about cybersecurity? Take our
                                                                                                                                        security and privacy policy from DC.
                        quiz.

                                                                                                                                        Jack Detsch
                      “This is the first time we’ve seen a cyber­hacktivist organization act in a                                       Sta音� writer | Jack is the Mark Clayton
                                                                                                                                        Fellow in Cybersecurity
                      malicious way on such a grand scale to try to wreck a national election,”




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                      malicious way on such a grand scale to try to wreck a national election,”

                      says Joseph Kiniry, an Internet voting systems cyber­security expert. “To                       Paul F. Roberts
                      hack in and delete everything on those servers is just pillaging, wanton                        Correspondent | Paul covers critical
                                                                                                                      infrastructure and the Internet of Things.
                      destruction.”

                                                                                                                      Jaikumar Vijayan
                                                                                                                      Correspondent | Jaikumar is an award-
                      That wanton destruction began four days
                                                                                                                      winning technology reporter.
                      ahead of the national vote, when CyberBerkut,
                      a group of pro­Russia hackers, infiltrated                                                      Nadya T. Bliss
                                                                                                                      Columnist | Nadya directs the Global
                      Ukraine’s central election computers and                                                        Security Initiative at Arizona State Uni...

                      deleted key files, rendering the vote­tallying
                                                                                                                      Lorrie Faith Cranor
                      system inoperable. The next day, the hackers
                                                                            TEST YOUR KNOWLEDGE     | How much do     Columnist | Lorrie is chief technologist at
                      declared they had “destroyed the computer             you know about cybersecurity? Take        the Federal Trade Commission

                                                                            our quiz.
                      network infrastructure” for the election,
                                                                                                                      Dan Geer
                      spilling e­mails and other documents onto the                                                   Columnist | Dan is chief information
                                                                                                                      security o韂�cer for In-Q-Tel.
                      web as proof.

                                                                                                                      Jason Healey
                      A day later, government officials said the                                                      Columnist | Senior Research Scholar,
                                                                                                                      Columbia University SIPA
                      system had been repaired, restored from

                      backups, and was ready to go. But it was just         IN PICTURES   | Ukraine: 10 years in 30   Sascha Meinrath
                                                                            images                                    Columnist | Sascha founded the Open
                      the beginning.
                                                                                                                      Technology Institute.



                      Only 40 minutes before election results were to                                                 Lysa Myers
                                                                                                                      Columnist | Lysa Myers is a security
                      go live on television at 8 p.m., Sunday, May 25,                                                researcher at ESET.

                      a team of government cyber experts removed a
                                                                                                                      Bruce Schneier
                      “virus” covertly installed on Central Election
                                                                                                                      Columnist | Bruce is a noted
                      Commission computers, Ukrainian security                                                        cryptographer and security expert.
                                                                            VIDEO   | Ukraine election results

                      officials said later.
                                                                                                                      Evan Selinger
                                                                                                                      Columnist | Evan is a philosophy
                      If it had not been discovered and removed, the malicious software would                         professor at Rochester Institute of
                                                                                                                      Technology.
                      have portrayed ultra­nationalist Right Sector party leader Dmytro Yarosh

                      as the winner with 37 percent of the vote (instead of the 1 percent he                          Melanie Teplinsky
                                                                                                                      Columnist | Melanie teaches information
                                                                                                                      privacy law at American University.



                                                                                                                      Nicole Wong
                                                                                                                      Columnist | Nicole served as deputy chief
                      actually received) and Petro Poroshenko (the actually winner with a                             technology o韂�cer at the White House.

                      majority of the vote) with just 29 percent, Ukraine officials told reporters
                      the next morning.


                      Curiously, Russian Channel One aired a bulletin that evening declaring Mr.

                      Yarosh the victor with 37 percent of the vote over Mr. Poroshenko with 29
                      percent, Ukraine officials said.


                      “Offenders were trying by means of previously installed software to fake

                      election results in the given region and in such a way to discredit general

                      results of elections of the President of Ukraine,” the Ukrainian Security
                      Service (SBU) said in a statement.
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                      Still, there was more to come.


                      In the wee hours of the morning after polls closed, as results flowed in from
                      Ukrainian election districts, Internet links feeding that data to the vote tally

                      system were hit with a barrage of fake data packets – known as distributed
                      denial of service (DDoS) attacks. So from about 1 to 3 a.m. on May 26,

                      election results were blocked, delaying the finally tally until the early




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                      election results were blocked, delaying the finally tally until the early

                      morning, a preliminary report by international election observers
                      recounted.


                      An analysis of the DDoS attack by Arbor Networks, a Burlington, Mass.,
                      cyber­security company, ties it to CyberBerkut.


                      In the end, international observers declared Ukraine’s vote “a genuine
                      election.” But US researchers say it’s clear that Ukraine dodged a major

                      cyber­bullet.


                      “We’ve seen vote fraud before in Ukraine, including a rigged computer

                      system in 2004,” says Peter Ordeshook, a California Institute of Technology

                      political scientist. “But this wasn’t an effort to steal the election outcome, so

                      much as to steal the election itself – by entirely discrediting it in the eyes of
                      key segments of the population in Ukraine and in Russia, too.”


                      While it was well understood across most of Ukraine and internationally
                      that the far­right candidate Yarosh had little political support, the faked

                      results would have lent credibility to Russian­inspired accounts that the
                      popular revolt last fall against the Ukraine government was fomented by

                      ultra­nationalists.




                      “In that light, the cyber fakery looks incredibly clumsy from the outside

                      because no one there would have believed it,” Dr. Ordeshook says. “But
                      these faked results were geared for a specific audience in order to feed the

                      Russian narrative that has claimed from the start that ultra­nationalists and

                      Nazis were behind the revolution in Ukraine.”


                      If the virus with the faked computer results had not been discovered, it

                      would have fomented unrest across the volatile ethnic­Russian Donetsk

                      region now under the shadow of Russian forces on the border with Ukraine,
                      he says. Such spurious results also would have undermined the credibility
                      of the new Ukraine government and could have paved the way for Russian

                      military action, say political scientists who monitor Ukraine elections.


                      The Ukraine hack is a stark warning for the US and other democracies that
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                      use the Internet for tabulation and even direct voting, election security
                      experts say. One clear lesson, they say, is to always have paper ballots to

                      back up election results – like Ukraine – and to avoid Internet voting.


                      “The Ukraine attack story demonstrates there is no shortage of methods

                      which a determined adversary will make use of to sabotage an election,”

                      says Pamela Smith, president of the Verified Voting Foundation, a US group

                      that has researched US election systems security.


                      In the runup to the election, President Obama on May 2 warned Russia not

                      to interfere or the US “will not have a choice but to move forward with

                      additional, more severe sanctions.”


                      Since then, US officials appear reluctant to make too much of the attacks.
                      References to the cyber­attacks have been brief and oblique. With

                      anonymity cloaking cyber­attacks across the Internet, it’s difficult to tell




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                      anonymity cloaking cyber­attacks across the Internet, it’s difficult to tell
                      how deeply involved Russia’s government might have been.


                      Ukraine experienced “cyber­attacks on the Central Election Commission of
                      the kind that generally would require outside support,” Victoria Nuland,

                      assistant secretary of State for European affairs, acknowledged in a May 27
                      interview on the Charlie Rose show. Mark Green, a former congressman,

                      said in Senate testimony June 6 that he had been told by a US diplomat of a

                      failed Russian cyber­attack on the election.


                      Ukrainian officials have been unabashed in throwing blame at Russia,

                      saying that arrests were made in the case, although no names have yet been
                      made public.



                      "It was prepared in advance and stored on Russian (Internet) re­sources,"
                      Volodymyr Zverev, head of the Ukraine’s Administration of Public Service

                      of Special Communication and Protection of Information said of the
                      malware that was intended to deliver the fake election results, according to

                      Interfax­Ukraine. "They wanted to, and made the preparations, but they did
                      not succeed."


                      While Russian hacktivists appear to be linked to at least some of the
                      attacks, not everyone agrees the Russian government had a hand in the

                      most devious element. Internet security expert Mr. Kiniry, for instance,
                      says there is no solid proof yet to back the Ukrainian government claim of a

                      virus carrying fake election results.


                      Others say Russia’s paw prints are all over the attack.


                      “Did Russia attempt to sway the Ukrainian Presidential Election? I honestly
                      don’t know the answer to that,” says Jeffery Stutzman, CEO of Red Sky

                      Alliance, a cyber­security group in New Hampshire.


                      But, he adds, “the idea that these guys were trying to poison the election
                      result by compromising the election commission computers is amazing to
                      me – and this coincidence with the Russian channel showing the same fake
                      results – is just too much. If it walks like a duck and quacks like one, maybe

                      it’s a duck.”




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